                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 1 of 72 Page ID #:783



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                                                                  8    MICHAEL TERPIN
                                                                  9
                                                                                                    UNITED STATES DISTRICT COURT
                                                                 10
                                                                                                   CENTRAL DISTRICT OF CALIFORNIA
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                          Los Angeles, California 90067-4590
                          1900 Avenue of the Stars, 21st Floor




                                                                       MICHAEL TERPIN,                               Case No. 2:18-cv-6975-ODW-KS
       & MACHTINGER LLP




                                                                 13
                                                                                              Plaintiff,             SECOND AMENDED COMPLAINT
                                                                 14                                                  FOR:
                                                                       v.
                                                                 15                                                  (1) DECLARATORY RELIEF:
                                                                       AT&T Mobility, LLC; and DOES 1-               UNENFORCEABILITY OF AT&T
                                                                 16    25,                                           CONSUMER AGREEMENT AS
                                                                                                                     UNCONSCIONABLE AND
                                                                 17                           Defendants.            CONTRARY TO PUBLIC POLICY;
                                                                                                                     (2) UNAUTHORIZED
                                                                 18                                                  DISCLOSURE OF CUSTOMER
                                                                                                                     CONFIDENTIAL PROPRIETARY
                                                                 19                                                  INFORMATION AND
                                                                                                                     PROPRIETARY NETWORK
                                                                 20                                                  INFORMATION, FEDERAL
                                                                                                                     COMMUNICATIONS ACT, 47
                                                                 21                                                  U.S.C. §§ 206, 222; (3) DECEIT BY
                                                                                                                     CONCEALMENT, CAL. CIV.
                                                                 22                                                  CODE §§ 1709, 1710;
                                                                                                                     (4) MISREPRESENTATION;
                                                                 23                                                  (5) NEGLIGENCE; (6) NEGLIGENT
                                                                                                                     SUPERVISION AND TRAINING;
                                                                 24                                                  (7) NEGLIGENT HIRING; and
                                                                                                                     (8) BREACH OF CONTRACT—
                                                                 25                                                  AT&T PRIVACY POLICY
                                                                 26                                                  DEMAND FOR JURY TRIAL
                                                                 27
                                                                 28
                                                                      83764-00002/3747555.3                      1
                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 2 of 72 Page ID #:784



                                                                  1                       Plaintiff Michael Terpin, by and through his counsel, complains and
                                                                  2    alleges as his Second Amended Complaint as follows against AT&T Mobility, LLC
                                                                  3    (“AT&T”):
                                                                  4                                   JURISDICTION AND VENUE
                                                                  5                       1.    This Court has jurisdiction over this matter under 28 U.S.C.
                                                                  6    § 1331 because this case arises under federal question jurisdiction under the Federal
                                                                  7    Communications Act (“FCA”). The Court has supplemental jurisdiction under 28
                                                                  8    U.S.C. § 1367 over the state law claims because the claims are derived from a
                                                                  9    common nucleus of operative facts. The Court also has jurisdiction over this matter
                                                                 10    under 28 U.S.C. § 1332 in that the amount in controversy exceeds $75,000 and
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                                                                 11    Plaintiff and Defendants are citizens of different states in that Plaintiff, Michael
                                                                 12    Terpin is domiciled in Puerto Rico with a residence in California, and Defendants
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                                                                 13    AT&T, Inc. and AT&T Mobility, Inc., are corporations with their principal places
                                                                 14    of business, respectively, in Texas and Georgia.
                                                                 15                       2.    Venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1),
                                                                 16    (b)(2), (c) and (d) because a substantial part of the events or omissions giving rise
                                                                 17    to this Complaint occurred in this District. Plaintiff Michael Terpin has a residence
                                                                 18    in Los Angeles County, California. Mr. Terpin obtained wireless services from
                                                                 19    AT&T in Los Angeles County in or about the mid-1990’s. AT&T does business in
                                                                 20    and is subject to the Court’s jurisdiction in this District. AT&T’s violation of Mr.
                                                                 21    Terpin’s privacy in those services is the subject of this complaint. Mr. Terpin
                                                                 22    continued at all times relevant to the allegations herein to receive wireless services
                                                                 23    from AT&T for a telephone number with a Southern Californian area code.
                                                                 24                                         INTRODUCTION
                                                                 25                       3.    AT&T solemnly promises its cellular telephone subscribers that
                                                                 26    it will safeguard their private information—and particularly their data-rich SIM
                                                                 27    cards—from any unauthorized disclosure. Besides the numerous promises that
                                                                 28    AT&T makes in its own Privacy Policy and Code of Business Conduct, federal and
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                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 3 of 72 Page ID #:785



                                                                  1    state law impose a strict duty on the nation’s second largest cellular telephone
                                                                  2    carrier to take all necessary steps to preserve the privacy of its almost 140 million
                                                                  3    customers. In AT&T’s case, this mandate has fallen on deaf ears.
                                                                  4                       4.   In one notorious instance, AT&T employees were found
                                                                  5    culpable for stealing personal information for over 200,000 customers and selling it
                                                                  6    to criminals to unlock mobile phones. This massive security failure prompted the
                                                                  7    Federal Communications Commission to levy a record fine of $25 million and
                                                                  8    secure a Consent Decree requiring AT&T to implement detailed measures to
                                                                  9    enhance its subscribers’ protection against unauthorized disclosures of their private
                                                                 10    information. AT&T did not learn its lesson.
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                                                                 11                       5.   More recently, AT&T employees, as has been widely reported
                                                                 12    by law enforcement, are participating in a new species of fraud—SIM swap fraud—
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                                                                 13    which is a metastasizing cancer attacking AT&T customers and allowing hackers
                                                                 14    readily to bypass AT&T security to rob AT&T customers of valuable personal
                                                                 15    information and millions of dollars of cryptocurrency.
                                                                 16                       6.   A “SIM swap” is a practice whereby a hacker gains access to a
                                                                 17    victim’s telephone account or number in order to intercept communications,
                                                                 18    including text messages, to the mobile telephone. A perpetrator of a SIM swap
                                                                 19    typically arranges through bribery of someone with access to customer information
                                                                 20    to change the SIM card assigned to a user to a telephone under the control of the
                                                                 21    hacker or the hacker’s accomplices. Once the SIM transfer has occurred, the hacker
                                                                 22    uses the hacker’s phone which contains a SIM card associated with the victim’s
                                                                 23    account to impersonate the victim with service providers, such as e-mail providers,
                                                                 24    and uses the victim’s phone number to request changes to account settings and to
                                                                 25    reset passwords to take control of the victim’s accounts and private information.
                                                                 26    This is a direct, intentional form of theft, similar to stealing the key to a car (the key
                                                                 27    is not the car itself, but it directly enables the theft of the car without the owner’s
                                                                 28    permission). The sole reason for these bribes is the enabling of thieves to hack into
                                                                      83764-00002/3747555.3                         3
                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 4 of 72 Page ID #:786



                                                                  1    bank accounts, credit card records and digital assets, including cryptocurrency,
                                                                  2    stored in digital wallets that would not have otherwise been accessible without the
                                                                  3    theft of the digital identity “key” found in the SIM.
                                                                  4                       7.   Since the SIM swap described herein, AT&T has done virtually
                                                                  5    nothing to prevent ongoing SIM swap frauds. As a result, there have been hundreds
                                                                  6    of millions of dollars in subsequent direct losses by its customers of assets allegedly
                                                                  7    “protected” by this authentication scheme promoted by AT&T to its users and to
                                                                  8    software providers as providing additional safety. Even after learning of the
                                                                  9    complicity of its employees from law enforcement, AT&T has continued not to
                                                                 10    supervise low-level clerks to prevent them from turning over the digital “keys” of
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                                                                 11    its customers’ accounts to hackers.
                                                                 12                       8.   AT&T’s subscriber privacy protection system is thus a veritable
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                                                                 13    modern-day Maginot Line: a lot of reassuring words that promote a false sense of
                                                                 14    security whereas AT&T knows that hackers are readily able to bypass its weak
                                                                 15    security by co-opting AT&T’s own employees. AT&T persists in not providing
                                                                 16    adequate security or providing security that is easily evaded by hackers and/or its
                                                                 17    own employees even though it knows that hackers target its systems because the
                                                                 18    hackers know they are riddled with flaws. Most troubling, AT&T has not improved
                                                                 19    its protections even though it knows from numerous incidents that some of its
                                                                 20    employees actively cooperate with hackers in SIM swap frauds by giving hackers
                                                                 21    direct access to customer information and by overriding AT&T’s security
                                                                 22    procedures. On information and belief, Jahmil Smith, the AT&T agent involved in
                                                                 23    Mr. Terpin’s hack, was bribed by a criminal gang in order to allow the hackers
                                                                 24    access to the “private keys” to cryptocurrency assets that otherwise would be
                                                                 25    unavailable to them.
                                                                 26                       9.    In recent incidents, including incidents that have led to
                                                                 27    criminal complaints against individuals involved in SIM swaps, including AT&T
                                                                 28    employees, law enforcement has even confirmed that AT&T employees profited
                                                                      83764-00002/3747555.3                          4
                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 5 of 72 Page ID #:787



                                                                  1    from bribes for working directly with cyber terrorists and thieves in SIM swap
                                                                  2    frauds. Such was the case regarding two AT&T contract employees in Tucson,
                                                                  3    Jarratt White and Robert Jack, who facilitated 41 SIM swaps in the single month of
                                                                  4    May 2018 for a total bribe from the hackers of $4,300 that resulted in the theft of
                                                                  5    approximately $2,143,471.59. See Exhibit F (Criminal Complaint in United States
                                                                  6    v. White).
                                                                  7                       10.   The porosity of AT&T’s privacy program is dramatically
                                                                  8    evident in this case, which follows a pattern well known to AT&T and which has
                                                                  9    been repeated on countless times before and after the events that befell Mr. Terpin.
                                                                 10    An experienced, high profile cryptocurrency investor, Plaintiff Michael Terpin was
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                                                                 11    a longtime AT&T subscriber who entrusted his sensitive private information to
                                                                 12    AT&T and relied on AT&T’s assurances and its compliance with applicable laws.
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                                                                 13    Given all the carrier’s hype about protecting customer security, Plaintiff believed
                                                                 14    that it would keep its promises about absolutely safeguarding him from a data
                                                                 15    breach that could lead to the theft of tens of millions of dollars of cryptocurrency.
                                                                 16    In reality, however, Plaintiff was victimized by not one, but two hacks within seven
                                                                 17    months.
                                                                 18                       11.   On information and belief Terpin further alleges that even after
                                                                 19    AT&T had placed vaunted additional protection on his account after an earlier
                                                                 20    hacking incident, an AT&T retail clerk (Jahmil Smith) was easily able to fabricate
                                                                 21    information indicating that Mr. Terpin visited the store and showed identification
                                                                 22    when in fact Mr. Terpin did not visit the store. Smith then transferred the key to the
                                                                 23    digital identity of Mr. Terpin in the SIM for his telephone account to an eager gang
                                                                 24    of hackers.
                                                                 25                       12.   Importantly, the precise mechanics of that hack are best known
                                                                 26    by the hackers. Upon information and belief, Terpin alleges that the AT&T
                                                                 27    employee’s cooperation allowed a criminal gang to use their control of Mr. Terpin’s
                                                                 28    telephone account to intercept communications, including text messages, to reset
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                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 6 of 72 Page ID #:788



                                                                  1    passwords for Mr. Terpin’s accounts and to access files under those accounts
                                                                  2    containing confidential information used to access cryptocurrency wallets and/or
                                                                  3    exchanges. This system long promoted by AT&T and other phone companies is
                                                                  4    called “two factor authentication” in that it provides a second factor to prove
                                                                  5    identity to access a protected software account (the first factor is typically an email
                                                                  6    address and/or a password). Once the perpetrators gained unauthorized access to the
                                                                  7    wallets, they transferred Mr. Terpin’s cryptocurrency to wallets and/or accounts
                                                                  8    controlled by the perpetrator(s). In the case of Mr. Terpin, Mr. Terpin is informed
                                                                  9    and believes that the hackers intercepted 2FA messages to a phone under their
                                                                 10    control with Mr. Terpin’s AT&T account to gain access to deleted files and
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                                                                 11    fragments accessible by hackers through sophisticated techniques on a password-
                                                                 12    protected cloud that contained confidential information that allowed them to gain
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                                                                 13    access to Mr. Terpin’s electronic wallets holding almost $24 million of
                                                                 14    cryptocurrency. Put simply, the SIM was an absolutely necessary component of the
                                                                 15    hack, without which the cryptocurrency could never have been accessed, much less
                                                                 16    stolen.
                                                                 17                       13.   Although AT&T’s privacy and security officers were well aware
                                                                 18    of the porosity of its protections of its customers’ personal information, AT&T
                                                                 19    provided hackers with access to Mr. Terpin’s telephone account through enabling
                                                                 20    its employees and agents the unfettered ability to falsify records and transfer the
                                                                 21    SIM to a phone under their control, without adhering to its security procedures, that
                                                                 22    allowed the cryptocurrency theft to occur by allowing the hackers to take
                                                                 23    possession of Mr. Terpin’s account and digital identity to intercept 2FA messages.
                                                                 24    What AT&T did was like a hotel giving a thief with a fake ID a room key and a key
                                                                 25    to the room safe to steal jewelry in the safe from the rightful owner, or, even worse,
                                                                 26    simply handing over the same keys to a known impostor when someone slipped
                                                                 27    them a $20 bill.
                                                                 28
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                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 7 of 72 Page ID #:789



                                                                  1                       14.   Since the hack to Mr. Terpin has occurred and this lawsuit has
                                                                  2    been filed, he has been contacted by more than 50 SIM swap victims of AT&T,
                                                                  3    including many who had cryptocurrency stolen under nearly identical
                                                                  4    circumstances. Cryptocurrency investors are particularly vulnerable because
                                                                  5    cryptocurrency transfers cannot be reversed. AT&T’s failure to protect
                                                                  6    cryptocurrency investors is thus undermining the stability of transactions in this
                                                                  7    important new $300 billion marketplace. Moreover, AT&T’s stubborn refusal to
                                                                  8    implement relatively easy fixes to its security system—despite the myriad of
                                                                  9    complaints, news stories, and incidents of fraud—has laid bare the fact that the
                                                                 10    telecommunication provider’s failure to guard against criminals working in their
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                                                                 11    retail stores is the weak link of the 2FA security system.
                                                                 12                       15.   AT&T is doing virtually nothing to protect its almost 140
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                                                                 13    million customers from SIM card fraud and the subsequent theft of assets that
                                                                 14    AT&T promised to protect through its 2FA system (in particular, through its higher
                                                                 15    level of protection that it promised Mr. Terpin) that follows as surely as night
                                                                 16    follows day. AT&T is therefore directly culpable for these attacks because it is
                                                                 17    well aware that hackers are readily able to avoid its security protections to subject
                                                                 18    its customers to SIM swap fraud and that such hackers rely on such fraud and theft
                                                                 19    to obtain 2FA communications that lead them directly to customers’ private
                                                                 20    communications and valuable digital assets. AT&T does almost nothing to protect
                                                                 21    its customers from such fraud because it has become too big to care. Indeed,
                                                                 22    AT&T has sacrificed its customers for its own financial gain because it is unwilling
                                                                 23    to install basic security precautions for preventing its employees to fraudulently
                                                                 24    transfer a SIM card to a criminal gang--something that law enforcement statistics
                                                                 25    show has happened very frequently to AT&T, with many more thefts unreported.
                                                                 26                       16.   This lawsuit seeks to hold AT&T accountable for its abject
                                                                 27    failure to protect subscribers like Mr. Terpin from the theft of protection to their
                                                                 28    digital identity by its own employees. Apparently, AT&T preferred to buy Time
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                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 8 of 72 Page ID #:790



                                                                  1    Warner for over $85 billion than pay for a state-of-the art security system and hire,
                                                                  2    train, and supervise competent and ethical employees—even when it was well
                                                                  3    known to AT&T that its system was vulnerable to precisely the type of hack
                                                                  4    experienced by Mr. Terpin. Indeed, AT&T knew that Mr. Terpin himself has
                                                                  5    previously been subject to SIM swap fraud. And, Mr. Terpin is informed and
                                                                  6    believes that AT&T further knew that SIM swapping fraud has become more and
                                                                  7    more prevalent as a gateway to the access of customers’ accounts, resulting in a
                                                                  8    wide variety of harms including, as was the case with Mr. Terpin, the theft of
                                                                  9    cryptocurrencies.
                                                                 10                       17.   On information and belief, law enforcement has approached
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                                                                 11    AT&T frequently to ask for satellite records as evidence of whether and when a
                                                                 12    SIM transfer has occurred and whether it occurred in a store, as noted in the AT&T
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                                                                 13    transaction log, or whether the transfer occurred hundreds of miles away by a
                                                                 14    hacker. After this many thefts and subpoenas by law enforcement, AT&T cannot
                                                                 15    proclaim that it lacks knowledge of the crimes being committed by its own
                                                                 16    employees and agents due to its lax security practices. A verdict for $24 million of
                                                                 17    compensatory damages and over $200 million for punitive damages might attract
                                                                 18    the attention of AT&T’s senior management who have long ignored this practice so
                                                                 19    that they will spend serious money on an acceptable customer protection program
                                                                 20    and measures to ensure that its own employees are not complicit in theft and fraud.
                                                                 21    Then and only then will AT&T’s promise to protect the types of personal
                                                                 22    information that directly led to the hacking of Mr. Terpin’s accounts ring true.
                                                                 23
                                                                                                             THE PARTIES
                                                                 24
                                                                                          18.   Mr. Terpin is well known for his involvement with
                                                                 25
                                                                       cryptocurrency. Cryptocurrency (also known as “crypto”) is digital or virtual
                                                                 26
                                                                       currency used as a medium of exchange, store of value, and hedge against other
                                                                 27
                                                                       investment assets such as stocks and bonds. that uses cryptography to secure the
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                                                           Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 9 of 72 Page ID #:791



                                                                  1    transaction. Typically, the holder of cryptocurrency has both a “public” and a
                                                                  2    “private” key or address that the holder uses to receive, transfer, use or store
                                                                  3    cryptocurrency. The private key, which is under the control of the owner of the
                                                                  4    cryptocurrency, is used to write in a public ledger to transfer cryptocurrency but is
                                                                  5    not displayed publicly. The private key is a cryptographically secure series of
                                                                  6    letters and numbers, which is typically filed in a “wallet.” Because the key can be
                                                                  7    used to “spend” cryptocurrency, owners of cryptocurrency typically keep such keys
                                                                  8    secure. Cryptocurrency is decentralized, operates independently of a central bank,
                                                                  9    and is often traded by parties through “exchanges.” The total market value of all
                                                                 10    cryptocurrency exceeded $800 Billion on the day of Mr. Terpin’s theft.
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                                                                 11                       19.   Mr. Terpin is a prominent member of the blockchain and
                                                                 12    cryptocurrency community. In 2013, he started BitAngels, the first angel group for
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                                                                 13    investing in bitcoin and blockchain companies, and CoinAgenda, the first high-end
                                                                 14    investor series for family offices and funds investing in digital assets. Mr. Terpin
                                                                 15    also runs Transform Group, the preeminent public relations and advisory firm in the
                                                                 16    cryptocurrency and blockchain sectors. Like others in the blockchain community,
                                                                 17    Mr. Terpin is a high-profile hacker target because of his publicized involvement in
                                                                 18    cryptocurrency enterprises.
                                                                 19                       20.   AT&T, Inc. is a Delaware Corporation with its principal place
                                                                 20    of business in Dallas, Texas. Defendant AT&T Mobility, LLC (“AT&T
                                                                 21    Mobility”), which is marketed as “AT&T,” is a wholly-owned subsidiary of AT&T,
                                                                 22    Inc. with its principal place of business in Brookhaven, Georgia. AT&T Mobility
                                                                 23    provides wireless service to subscribers in the United States, Puerto Rico, and the
                                                                 24    U.S. Virgin Islands. AT&T Mobility is a “common carrier” governed by the
                                                                 25    Federal Communications Act (“FCA”), 47 U.S.C. § 151 et seq. AT&T Mobility is
                                                                 26    regulated by the Federal Communications Commission (“FCC”) for its acts and
                                                                 27    practices, including those occurring in this District. AT&T, Inc. and AT&T
                                                                 28    Mobility are herein referred to collectively as “AT&T.”
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 10 of 72 Page ID #:792



                                                                  1                       21.   Defendant AT&T Mobility is the second largest wireless
                                                                  2    provider in the United States with 138.8 million subscribers as of the third quarter
                                                                  3    of 2017. AT&T, Inc., as it is presently constituted, is the result of the
                                                                  4    recombination of many of the companies split off from the original AT&T (also
                                                                  5    known as “The Telephone Company” or “Ma Bell.”) AT&T, Inc. is a behemoth
                                                                  6    which, in 2017, had operating revenues of over $160 billion and assets of over $444
                                                                  7    billion.
                                                                  8                       22.   Over the past decade, AT&T has gone on a buying spree costing
                                                                  9    over $150 billion, acquiring: Bell South (including Cingular Wireless and
                                                                 10    Yellowpages.com), Dobson Communications, Edge Wireless, Cellular One,
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                                                                 11    Centennial, Wayport, Qualcomm Spectrum, Leap Wireless, DirecTV, and Iusacell
                                                                 12    and NII Holdings (now AT&T Mexico). During the same period, AT&T’s mobile
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                                                                 13    phone business was rated as the worst among major providers. Consumer Reports
                                                                 14    named it the “worst carrier” in 2010, and the next year, J.D. Power found AT&T’s
                                                                 15    network the least reliable in the country—a dubious achievement that it also earned
                                                                 16    in prior years. Little wonder that its customers were the least happy of subscribers
                                                                 17    of the Big Four carriers according to the American Consumer Index. In the
                                                                 18    meantime, AT&T has purchased for a total equity value of $85.4 billion Time
                                                                 19    Warner Inc.—the owner of HBO, Warner Bros, CNN, Turner Broadcasting,
                                                                 20    Cartoon Network, Turner Classic Movies, TBS, TNT and Turner Sports.
                                                                 21                       23.   According to media reports, AT&T mobile telephone customers
                                                                 22    have been the subject of more privacy violations than subscribers to other cell
                                                                 23    phone companies. The Electronic Frontier Foundation has recently called out
                                                                 24    AT&T’s “hypocrisy” in calling for an “Internet Bill of Rights” when in fact “few
                                                                 25    companies have done more to combat privacy and network neutrality than AT&T.”
                                                                 26    https://www.eff.org/deeplinks/2018/01/hypocrisy-atts-internet-bill-rights AT&T
                                                                 27    has even lobbied the FCC to stop applying the privacy provisions of the FCA to its
                                                                 28    broadband services, while arguing (unsuccessfully) that it was not subject to the
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 11 of 72 Page ID #:793



                                                                  1    jurisdiction of the Federal Trade Commission (“FTC”) to govern privacy and data
                                                                  2    security pursuant to its jurisdiction to regulate unfair and deceptive acts under
                                                                  3    Section 5 of the FTC Act, 15 U.S.C. § 45(a)(1)(2).
                                                                  4                       24.   As further detailed below, AT&T has also been and continues to
                                                                  5    be subject to numerous incidents of SIM card swap fraud, including incidents
                                                                  6    involving prominent members of the cryptocurrency community. It is further aware
                                                                  7    that its employees are complicit in such fraud and can bypass AT&T’s security
                                                                  8    concerns. Indeed, a growing number of its employees and/or agents have been
                                                                  9    charged in criminal cases for participating in SIM swap fraud and their involvement
                                                                 10    in such fraud has been highlighted by law enforcement authorities. And, plaintiff is
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                                                                 11    informed and believes that AT&T has knowledge of the involvement of a growing
                                                                 12    number of employees and/or agents in such incidents. Despite the incidents, AT&T
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                                                                 13    persists in not securing its system against a cresting wave of such fraudulent
                                                                 14    activity.
                                                                 15                       25.   Since Mr. Terpin’s hack occurred, AT&T customers continue to
                                                                 16    be subject to widespread SIM swap fraud. On information and belief, AT&T’s
                                                                 17    response to complaints about these hacks has been brusque, if not callous. AT&T
                                                                 18    has made it virtually impossible for customers to contact its fraud department,
                                                                 19    refused to provide even basic information about the SIM swaps, has denied
                                                                 20    knowledge of the hacks, and has even flatly told customers that it has no intent of
                                                                 21    investigating the involvement of its own employees in such frauds. Even though,
                                                                 22    on information and belief, AT&T has a portal to directly report suspect incidents to
                                                                 23    the FCC, it has denied the applicability of the privacy provisions of the FCA to
                                                                 24    hacks even when hackers have taken entire control of a customer’s phone.
                                                                 25                       26.   Given AT&T’s dismal track record on consumer privacy,
                                                                 26    including the FCC’s fine and Consent Decree referenced below and its failure to
                                                                 27    prevent fraud of the sort that victimized Mr. Terpin, it ought to have invested its
                                                                 28    money and attention to protecting its cellular telephone subscribers from the
                                                                      83764-00002/3747555.3                          11
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 12 of 72 Page ID #:794



                                                                  1    onslaught of hacking and insider data breaches before it spent billions of dollars for
                                                                  2    new companies, like Time Warner. After all, AT&T was historically a telephone
                                                                  3    company.
                                                                  4                       27.    Plaintiff is ignorant of the true names or capacities of the
                                                                  5    defendants sued herein under the fictitious names DOES ONE through TWENTY-
                                                                  6    FIVE inclusive. Plaintiff further alleges that each of the fictitiously named
                                                                  7    Defendants is responsible in some manner for the occurrences herein alleged,
                                                                  8    proximately caused plaintiff’s damages, and was acting as agent for the others.
                                                                  9
                                                                                                        FACTUAL ALLEGATIONS
                                                                 10
                                                                                         AT&T’S STATUTORY OBLIGATION TO PROTECT
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                                                                 11
                                                                                                CUSTOMERS’ PERSONAL INFORMATION
                                                                 12
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                                                                                          UNDER THE FEDERAL COMMUNICATIONS ACT
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                                                                 13
                                                                                          28.    As a common carrier, AT&T is obligated to protect the
                                                                 14
                                                                       confidential personal information of its customers under Section 222 of the FCA,
                                                                 15
                                                                       47 U.S.C. § 222.
                                                                 16
                                                                                          29.    Section 222(a), 47 U.S.C. § 222(a), provides that “[e]very
                                                                 17
                                                                       telecommunications carrier has a duty to protect the confidentiality of proprietary
                                                                 18
                                                                       information of, and relating to . . . customers . . ..” The “confidential proprietary
                                                                 19
                                                                       information” referred to in Section 222(a), is abbreviated herein as “CPI.”
                                                                 20
                                                                                          30.    Section 222(c), 47 U.S.C. § 222(c), additionally provides that
                                                                 21
                                                                       “[e]xcept as required by law or with the approval of the customer, a
                                                                 22
                                                                       telecommunications carrier that receives or obtains customer proprietary network
                                                                 23
                                                                       information by virtue of its provision of a telecommunications service shall only
                                                                 24
                                                                       use, disclose, or permit access to individually identifiable customer proprietary
                                                                 25
                                                                       network information in its provision of (A) the telecommunications service from
                                                                 26
                                                                       which such information is derived, or (B) services necessary to, or used in, the
                                                                 27
                                                                       provision of such telecommunications service, including the publishing of
                                                                 28
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 13 of 72 Page ID #:795



                                                                  1    directories.” The “customer proprietary network information” referred to in
                                                                  2    Section 222(c) is abbreviated herein as “CPNI.”
                                                                  3                       31.   Section 222(h)(1), 47 U.S.C. § 222(h)(1), defines CPNI as
                                                                  4    “(A) information that relates to the quantity, technical configuration, type,
                                                                  5    destination, location, and amount of use of a telecommunications service subscribed
                                                                  6    to by any customer of a telecommunications carrier, and that is made available to
                                                                  7    the carrier by the customer solely by virtue of the carrier-customer relationship; and
                                                                  8    (B) information contained in the bills pertaining to telephone exchange service or
                                                                  9    telephone toll service received by a customer of a carrier, except that term does not
                                                                 10    include subscriber list information.”
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                                                                 11                       32.   The FCC has promulgated rules to implement Section 222 “to
                                                                 12    ensure that telecommunications carriers establish effective safeguards to protect
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                                                                 13    against unauthorized use or disclosure of CPNI.” See 47 CFR § 64.2001 et seq.
                                                                 14    (“CPNI Rules”); CPNI Order, 13 FCC Rcd. at 8195 ¶ 193. The CPNI Rules limit
                                                                 15    disclosure and use of CPNI without customer approval to certain limited
                                                                 16    circumstances (such as cooperation with law enforcement), none of which are
                                                                 17    applicable to the facts here. 47 CFR § 64.2005.
                                                                 18                       33.   The CPNI Rules require carriers to implement safeguards to
                                                                 19    protect customers’ CPNI. These safeguards include: (i) training personnel “as to
                                                                 20    when they are and are not authorized to use CPNI”; (ii) establishing “a supervisory
                                                                 21    review process regarding carrier compliance with the rules;” and (iii) filing annual
                                                                 22    compliance certificates with the FCC. 47 CFR § 64.2009(b), (d), and (e).
                                                                 23                       34.   The CPNI Rules further require carriers to implement measures
                                                                 24    to prevent the disclosure of CPNI to unauthorized individuals. 47 CFR § 64.2010.
                                                                 25    For example, “carriers must take reasonable measures to discover and protect
                                                                 26    against attempts to gain unauthorized access to CPNI.” 47 CFR § 64.2010(a).
                                                                 27    Moreover, “carriers must properly authenticate a customer prior to disclosing CPNI
                                                                 28    based on customer-initiated telephone contact, online account access, or an in-store
                                                                      83764-00002/3747555.3                          13
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 14 of 72 Page ID #:796



                                                                  1    visit.” Id. In the case of in-store access to CPNI, “[a] telecommunications carrier
                                                                  2    may disclose CPNI to a customer who, at a carrier’s retail location, first presents to
                                                                  3    the telecommunications carrier or its agent a valid photo ID matching the
                                                                  4    customer’s account information.” 47 CFR § 64.2010(d) (emphasis added). “Valid
                                                                  5    photo ID” is defined in 47 CFR § 64.2003(r) as “a government-issued means of
                                                                  6    personal identification with a photograph such as a driver’s license, passport, or
                                                                  7    comparable ID that is not expired.”
                                                                  8                       35.   The FCC has determined that information obtained from
                                                                  9    customers through a common social engineering ploy known as “pretexting” is
                                                                 10    CPNI. See In the Matter of Implementation of the Telecommunications Acts of
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                                                                 11    1996: Telecommunications Carriers’ Use of Customer Proprietary Network
                                                                 12    Information and Other Customer Information, 22 FCC Rcd. 6927 (2007)
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                                                                 13    (“Pretexting Order”). Pretexting is “the practice of pretending to be a particular
                                                                 14    customer or other authorized person in order to obtain access to that customer’s call
                                                                 15    detail or other private communications records.” Id., n. 1. Such “call detail” and
                                                                 16    “private communications” are CPI and CPNI under the FCA. Id. at 6928 et seq.
                                                                 17    The FCC concluded that “pretexters have been successful at gaining unauthorized
                                                                 18    access to CPNI” and that “carriers’ record on protecting CPNI demonstrate[d] that
                                                                 19    the Commission must take additional steps to protect customers from carriers that
                                                                 20    have failed to adequately protect CPNI.” Id. at 6933. The FCC modified its rules to
                                                                 21    impose additional security for carriers’ disclosure of CPNI and to require that law
                                                                 22    enforcement and customers be notified of security breaches involving CPNI. Id. at
                                                                 23    6936-62.
                                                                 24                       36.   In its Pretexting Order, the FCC stated that it “fully expect[s]
                                                                 25    carriers to take every reasonable precaution to protect the confidentiality of
                                                                 26    proprietary or personal customer information.” Id. at 6959, ¶ 64. The FCC further
                                                                 27    stated that “[w]e decline to immunize carriers from possible sanction for disclosing
                                                                 28    customers’ private information without appropriate authorization.” Id. at 6960,
                                                                      83764-00002/3747555.3                           14
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 15 of 72 Page ID #:797



                                                                  1    ¶ 66. In a statement directly relevant to the facts alleged below, the FCC also
                                                                  2    stressed the fact that someone having obtained information fraudulently is strong
                                                                  3    evidence of the carrier’s failure to satisfy the requirements of section 222. The
                                                                  4    FCC stated that “we hereby put carriers on notice that the Commission henceforth
                                                                  5    will infer from evidence that a pretexter has obtained unauthorized access to a
                                                                  6    customer’s CPNI that the carrier did not sufficiently protect that customer’s CPNI.
                                                                  7    A carrier then must demonstrate that the steps it has taken to protect CPNI from
                                                                  8    unauthorized disclosure, including the carrier’s policies and procedures, are
                                                                  9    reasonable in light of the threat posed by pretexting and the sensitivity of the
                                                                 10    customer information at issue.” Id. at 6959, ¶ 63 (emphasis added).
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                                                                 11                       37.   As further alleged below, AT&T violated Section 222 of the
                                                                 12    FCA and the CPNI Rules and ignored the warning in the Pretexting Order on
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                                                                 13    January 7, 2018 when its employees provided hackers with Mr. Terpin’s SIM cards
                                                                 14    containing or allowing access to Mr. Terpin’s personal information, including CPI
                                                                 15    and CPNI, without Mr. Terpin’s authorization or permission, and without requiring
                                                                 16    that the individual accessing Mr. Terpin’s account present valid identification or
                                                                 17    comply with AT&T’s own procedures.
                                                                 18                       38.   Despite its statutory duties to protect the privacy of AT&T’s
                                                                 19    customers, the FCC, under its current “business friendly” leadership, has not made
                                                                 20    any response to the ongoing plague of SIM swap cases. Mr. Terpin’s lawsuit thus
                                                                 21    fulfills a valuable public function of publicizing the complicity of AT&T in SIM
                                                                 22    swaps and its refusal to take even elementary measures to protect the privacy of its
                                                                 23    own customers.
                                                                 24         AT&T EMPLOYEES’ DISCLOSURE OF CUSTOMERS’ PERSONAL
                                                                 25          INFORMATION AND THE APRIL 8, 2015 FCC CONSENT DECREE
                                                                 26                       39.   On April 8, 2015, the FCC fined AT&T a record $25 million for
                                                                 27    violating Section 222 of the FCA by allowing its employees to hand over to thieves
                                                                 28    the CPNI of almost 280,000 customers. In addition to being forced to pay $25
                                                                      83764-00002/3747555.3                           15
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 16 of 72 Page ID #:798



                                                                  1    million to the FCC, AT&T entered into a consent decree requiring it to implement
                                                                  2    measures to protect CPNI. The April 8, 2015 consent decree (“Consent Decree”)
                                                                  3    remains in full force and effect.
                                                                  4                       40.   In the Consent Decree and the FCC’s adopting order (“Adopting
                                                                  5    Order”), the FCC highlights AT&T’s lax security practices and dismal failure to
                                                                  6    supervise and monitor employees that led to its unprecedented breach of its
                                                                  7    customers’ confidential and private information. See In the Matter of AT&T
                                                                  8    Services, Inc., 30 FCC Rcd. 2808 (April 8, 2015 Adopting Order and Consent
                                                                  9    Decree) (attached hereto as Exhibit A).
                                                                 10                       41.   The FCC investigation revealed that numerous AT&T call
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                                                                 11    center employees provided the CPNI of hundreds of thousands of customers,
                                                                 12    including names, phone numbers and Social Security Numbers to unauthorized
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                                                                 13    third parties, who used this information to gain access to unlock codes for mobile
                                                                 14    telephones and to remove territorial and network restrictions. Id. at 2808. The
                                                                 15    investigation further revealed that employees were frequently paid by criminals to
                                                                 16    hand over AT&T customers’ personal sensitive information, including account-
                                                                 17    related CPNI. Id. at 2808, 2813-15.
                                                                 18                       42.   The FCC found that AT&T employees used their login
                                                                 19    credentials to access the confidential information of almost 280,000 customers.
                                                                 20    The FCC concluded that AT&T’s data security measures “failed to prevent or
                                                                 21    timely detect a large and ongoing Data Breach.” Id. at 2813 (Consent Decree ¶ 8).
                                                                 22                       43.   The FCC also found that AT&T had not properly supervised its
                                                                 23    employees’ access to its customers’ personal information, including CPNI. The
                                                                 24    FCC concluded that AT&T’s “failure to reasonably secure customers’ proprietary
                                                                 25    information violates a carrier’s statutory duty under the Communications Act to
                                                                 26    protect that information and constitutes an unjust and unreasonable practice in
                                                                 27    violation of the Act.” Id. at 2808 (Adopting Order § 2).
                                                                 28
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 17 of 72 Page ID #:799



                                                                  1                       44.   In the Adopting Order, the FCC emphasized the importance of
                                                                  2    AT&T’s obligation to adhere to the obligations embodied in Section 222 of the
                                                                  3    FCA. According to the Adopting Order, the purpose of Section 222 is to “ensure
                                                                  4    that consumers can trust that carriers have taken appropriate steps to ensure that
                                                                  5    unauthorized persons are not accessing, viewing or misusing their personal
                                                                  6    information.” Id. Carriers like AT&T are thus required to take “ʻevery reasonable
                                                                  7    precautionʼ to protect their customers’ data” and to notify consumers regarding any
                                                                  8    breaches in order to “aid in the pursuit and apprehension of bad actors and provide
                                                                  9    valuable information that helps affected consumers [to] be proactive in protecting
                                                                 10    themselves in the aftermath of a data breach.” Id.
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                                                                 11                       45.   As a condition of terminating the FCC’s investigation of
                                                                 12    AT&T’s violations of Sections 201(b) and 222 of the FCA, the FCC imposed
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                                                                 13    numerous requirements on AT&T to improve its supervision of employees and to
                                                                 14    adhere to its legal obligation to protect the privacy of AT&T’s customers.
                                                                 15    Moreover, the Consent Decree imposed obligations not only on AT&T itself, but
                                                                 16    also on AT&T’s “Covered Employees,” who are defined as “all employees and
                                                                 17    agents of AT&T who perform or directly supervise, oversee, or manage the
                                                                 18    performance of duties that involve access to, use, or disclosure of Personal
                                                                 19    Information or Customer Proprietary Network Information at Call Centers managed
                                                                 20    and operated by AT&T Mobility.” Id. at 2811. “Call Center” is defined broadly in
                                                                 21    the Consent Decree as call centers operated by AT&T or its contractors “that
                                                                 22    provide mobility customer service or wireless sale service for AT&T Mobility
                                                                 23    consumer customers.” Id. at 2810.
                                                                 24                       46.   Paragraph 17 of the FCC Consent Decree requires AT&T to
                                                                 25    designate “a senior corporate manager with the requisite corporate and organization
                                                                 26    authority to serve as a Compliance Officer . . ..” Id. at 2816. AT&T’s Compliance
                                                                 27    Officer must be “responsible for developing, implementing, and administering the
                                                                 28
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 18 of 72 Page ID #:800



                                                                  1    Compliance Plan and ensuring that AT&T complies with the terms and conditions
                                                                  2    of the Compliance Plan and this Consent Decree.” Id.
                                                                  3                       47.   Paragraph 18 of the FCC Consent Decree requires AT&T to
                                                                  4    institute a “Compliance Plan designed to ensure future compliance with the [FCA]
                                                                  5    and with the terms and conditions of this Consent Decree.” Id. The Compliance
                                                                  6    Plan must include a Risk Assessment, Information Security Program, Ongoing
                                                                  7    Monitoring and Improvement, and a Compliance Review. Id.
                                                                  8                       48.   The “Information Security Program” required in
                                                                  9    Paragraph 18(b) must be “reasonably designed to protect CPNI and Personal
                                                                 10    Information from unauthorized access, use, or disclosure by Covered Employees . .
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                                                                 11    ..” Id. AT&T’s program must be documented in writing and include:
                                                                 12                       (i) administrative, technical, and physical safeguards reasonably
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                                                                 13                       designed to protect the security and confidentiality of Personal
                                                                 14                       Information and CPNI;
                                                                 15                       (ii) reasonable measures to protect Personal Information and CPNI
                                                                 16                       maintained by or made available to Vendors, Covered Employees, and
                                                                 17                       Covered Vendor Employees. . .;
                                                                 18                       (iii) access controls reasonably designed to limit access to Personal
                                                                 19                       Information and CPNI to authorized AT&T employees, agents, and
                                                                 20                       Covered Vendor Employees;
                                                                 21                       (iv) reasonable processes to assist AT&T in detecting and responding
                                                                 22                       to suspicious or anomalous account activity, including whether by
                                                                 23                       malware or otherwise, involving Covered Employees and Covered
                                                                 24                       Vendor Employees; and
                                                                 25                       (v) a comprehensive breach response plan that will enable AT&T to
                                                                 26                       fulfill its obligations under applicable laws, with regard to breach
                                                                 27                       notifications, including its obligations under paragraph 20 while that
                                                                 28                       paragraph remains in effect.
                                                                      83764-00002/3747555.3                              18
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 19 of 72 Page ID #:801



                                                                  1                       49.   Paragraph 18(c) of the Consent Decree requires AT&T to
                                                                  2    “monitor its Information Security Program on an ongoing basis to ensure that it is
                                                                  3    operating in a manner reasonably calculated to control the risks identified through
                                                                  4    the Risk Assessment, to identify and respond to emerging risks or threats, and to
                                                                  5    comply with the requirements of Section 222 of the [FCA], the CPNI Rules, and
                                                                  6    this Consent Decree.” Id. at 2817. In addition, Paragraph 18(g) requires AT&T to
                                                                  7    “establish and implement a Compliance Training Program [for employees] on
                                                                  8    compliance with Section 222, the CPNI Rules, and the Operating Procedures.” Id.
                                                                  9    All “Covered Employees” are required to be trained within six months of hire and
                                                                 10    periodically thereafter. Id.
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                                                                 11                       50.   AT&T must report noncompliance with the terms and
                                                                 12    conditions of the Consent Decree within fifteen (15) days after discovery of such
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                                                                 13    noncompliance. Id. at 2819 (Consent Decree ¶ 20). In addition, “AT&T shall also
                                                                 14    report to the FCC any breaches of Personal Information or CPNI involving any
                                                                 15    Covered Employees or Covered Vendor Employees that AT&T is required by any
                                                                 16    federal or state law to report to any Federal or state entity or any individual.” Id.
                                                                 17    Moreover, AT&T is required to file compliance reports with the FCC six (6)
                                                                 18    months after the Effective Date, twelve (12) months after the Effective Date, and
                                                                 19    thirty-six (36) months after the Effective Date.” Id. (Consent Decree ¶ 21).
                                                                 20                       51.   The provisions in Paragraphs 17 and 18 of the Consent Decree
                                                                 21    were applicable at all relevant dates to the acts and omissions alleged in this
                                                                 22    Complaint. Id. at 2820 (Consent Decree ¶ 22 (Paragraphs 17-18 expire seven (7)
                                                                 23    years after the “Effective Date,” i.e., April 7, 2022)). As further alleged below,
                                                                 24    AT&T violated numerous terms of the April 8, 2015 Consent Decree by failing to
                                                                 25    implement adequate security procedures to protect Mr. Terpin’s personal
                                                                 26    information, including CPNI, by failing to supervise and monitor its employees, by
                                                                 27    failing to ensure that its employees were ethical and competent, by failing to follow
                                                                 28    its security procedures and by failing to follow its legal obligations to protect Mr.
                                                                      83764-00002/3747555.3                          19
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 20 of 72 Page ID #:802



                                                                  1    Terpin’s personal information under the FAC, CPNI Rules, and the Consent
                                                                  2    Decree. Mr. Terpin alleges on information and belief that AT&T also failed to
                                                                  3    report to the FCC the two data breaches involving Mr. Terpin, as required by FCC
                                                                  4    regulations and the Consent Decree. Mr. Terpin further alleges on information and
                                                                  5    belief that AT&T has failed to report to the FCC numerous additional data breaches
                                                                  6    involving victims of fraud where AT&T employees provided hackers access
                                                                  7    AT&T’s customers’ telephone numbers who stole money from the customers. Mr.
                                                                  8    Terpin’s lawsuit thus serves the valuable function of publicizing AT&T’s abject
                                                                  9    failure to prevent the wholesale theft of its customers’ personal information,
                                                                 10    including the active participation of its own employees in such theft, to prevent
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                                                                 11    future harm to AT&T’s customers. It also publicizes AT&T’s complicity in the
                                                                 12    thefts of the information and assets of its own customers.
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                                                                 13     AT&T’S PRIVACY AND SECURITY COMMITMENTS TO CUSTOMERS
                                                                 14            IN ITS PRIVACY POLICY AND CODE OF BUSINESS CONDUCT
                                                                 15                       52.   In its Privacy Policy (“Privacy Policy”) and Code of Business
                                                                 16    Conduct (“COBC”), AT&T acknowledges its responsibilities to protect customers’
                                                                 17    “Personal Information” under the FCA, the CPNI Rules and other regulations. A
                                                                 18    true and correct copy of the Privacy Policy in effect in January 2018 available at
                                                                 19    http://about.att.com/sites/privacy_policy is attached hereto as Exhibit B. A true
                                                                 20    and correct copy of the COBC in effect in January 2018 available at
                                                                 21    https://ebiznet.sbc.com/attcode/index.cfm is attached hereto as Exhibit C.
                                                                 22                       53.   In its Privacy Policy and COBC, AT&T makes binding
                                                                 23    promises and commitments to Mr. Terpin, as its customer, that it will protect and
                                                                 24    secure his “Personal Information.” The Privacy Policy defines “Personal
                                                                 25    Information” as “[i]nformation that identifies or reasonably can be used to figure
                                                                 26    out the identity of a customer or user, such as your name, address, phone number
                                                                 27    and e-mail address.” AT&T states that, among the information that it collects from
                                                                 28    and about its customers, are “your name, address, telephone number, e-mail
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 21 of 72 Page ID #:803



                                                                  1    address” and service-related details such as payment history, security codes, service
                                                                  2    history and similar information. AT&T also collects information relating to the use
                                                                  3    of its networks, products and services. “Personal Information” thus includes both
                                                                  4    CPI and CPNI under Section 222 of the FCA and the CPNI Rules.
                                                                  5                       54.   In its Privacy Policy AT&T promises that it takes its
                                                                  6    responsibility “to safeguard your [i.e., the customer’s] Personal Information
                                                                  7    seriously” and that it will not share its customers’ Personal Information except for
                                                                  8    legitimate business purposes. It further states that “we will not sell [users’]
                                                                  9    Personal Information to anyone, for any purpose. Period.”
                                                                 10                       55.   AT&T further promises that it has numerous safeguards in place
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                                                                 11    to protect the Personal Information of its customers and makes the following
                                                                 12    promises to its customers:
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                                                                 13              We’ve worked hard to protect your information. And we’ve established
                                                                 14              electronic and administrative safeguards designed to make the information
                                                                 15              we collect secure. Some examples of those safeguards include:
                                                                 16                       •     All of our employees are subject to the AT&T Code of Business
                                                                 17                       Conduct (COBC)
                                                                 18                       (https://www.att.com/Common/about_us/downloads/att_code_of_busi
                                                                 19                       ness_conduct.pdf) and certain state-mandated codes of conduct.
                                                                 20                       Under the COBC, all employees must follow the laws, rules,
                                                                 21                       regulations, court and/or administrative orders that apply to our
                                                                 22                       business—including, specifically, the legal requirements and company
                                                                 23                       policies surrounding the privacy of communications and the security
                                                                 24                       and privacy of your records. We take this seriously, and any of our
                                                                 25                       employees who fail to meet the standards we’ve set in the COBC are
                                                                 26                       subject to disciplinary action. That includes dismissal.
                                                                 27
                                                                 28
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 22 of 72 Page ID #:804



                                                                  1                       •     We’ve implemented technology and security features and strict
                                                                  2                       policy guidelines to safeguard the privacy of your Personal
                                                                  3                       information. Some examples are:
                                                                  4                             o     Maintaining and protecting the security of computer
                                                                  5                             storage and network equipment, and using our security
                                                                  6                             procedures that require employee user names and passwords to
                                                                  7                             access sensitive data;
                                                                  8                             o     Applying encryption or other appropriate security controls
                                                                  9                             to protect Personal Information when stored or transmitted by
                                                                 10                             us;
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                                                                 11                             o     Limiting access to Personal Information to only those
                                                                 12                             with jobs requiring such access; and
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                                                                 13                             o     Requiring caller/online authentication before providing
                                                                 14                             Account Information so that only you or someone who knows
                                                                 15                             your Account Information will be able to access or change this
                                                                 16                             information.
                                                                 17    (Emphasis added.)
                                                                 18                       56.   AT&T’s COBC also makes binding commitments to Mr.
                                                                 19    Terpin, as an AT&T customer, that it will protect his Personal Information and that
                                                                 20    it will adhere to all its legal obligations. Those legal obligations include, by
                                                                 21    implication, Section 222 of the FCA, the CPNI Rules, and other legal obligations
                                                                 22    that govern protection of confidential and private information. For example,
                                                                 23    AT&T’s chairman and chief executive, Randall Stephenson, and its chief
                                                                 24    compliance officer, David Huntley promise that because “[o]ur customers count on
                                                                 25    us” “[t]hat we will follow not only the letter of the law, but the spirit of the law”
                                                                 26    and “that we will always take responsibility.” The COBC also specifically
                                                                 27    promises that AT&T will “protect the privacy of our customers’ communications”
                                                                 28    because “[n]ot only do our customers demand this, but the law requires it.
                                                                      83764-00002/3747555.3                              22
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 23 of 72 Page ID #:805



                                                                  1    Maintaining the confidentiality of communication is, and always has been, a
                                                                  2    crucial part of our business.” (Emphasis added.)
                                                                  3                       57.   AT&T further promises in the COBC that it “protect[s] the
                                                                  4    information about our customers that they entrust to us.” Acknowledging that
                                                                  5    “AT&T possesses sensitive, detailed information about our customers, who rely on
                                                                  6    AT&T to safeguard that information” and that “[l]aws and regulations tell us how
                                                                  7    to treat such data,” AT&T promises Mr. Terpin, as an AT&T customer, that “[a]ny
                                                                  8    inappropriate use of confidential customer information violates our customers’ trust
                                                                  9    and may also violate a law or regulation. Preserving our customers’ trust by
                                                                 10    safeguarding their private data is essential to our reputation.” (Emphasis added.)
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                                                                 11                       58.   Although AT&T acknowledges in its Privacy Policy, as it must,
                                                                 12    that it could not “guarantee” that Mr. Terpin’s “Personal Information will never be
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                                                                 13    disclosed in a manner inconsistent with [AT&T’s] Policy (for example, as the result
                                                                 14    of unauthorized acts by third parties that violate the law or this Policy),” it did not
                                                                 15    disclose the porosity of its promises to “safeguard[] [customers’] private data.” See
                                                                 16    Exh. B at 96. As shown by the events alleged herein, AT&T did not provide even
                                                                 17    rudimentary protections to protect its own systems from misuse or evasion by its
                                                                 18    own employees. Indeed, AT&T’s employees and individuals working in concert
                                                                 19    with them were able to avoid what minimal security measures were put in place.
                                                                 20    Mr. Terpin is not alleging that AT&T failed to have perfect security; rather that it
                                                                 21    did not even have basic and minimal protections, particularly given its knowledge
                                                                 22    of the porosity of its current level of protection.
                                                                 23                       59.   As alleged below, AT&T flagrantly and repeatedly violated its
                                                                 24    commitments to Mr. Terpin in its Privacy Policy and COBC, as well as its legal
                                                                 25    obligations under the FCA, the CPNI Rules, the Consent Decree, and California
                                                                 26    law, by willingly turning over to hackers Mr. Terpin’s wireless number that allowed
                                                                 27    hackers to access his “Personal Information” including CPNI. AT&T’s betrayal of
                                                                 28    its obligations caused Mr. Terpin to lose nearly $24 million worth of
                                                                      83764-00002/3747555.3                          23
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 24 of 72 Page ID #:806



                                                                  1    cryptocurrency. On information and belief, AT&T has also violated its obligations
                                                                  2    to protect the Personal Information, including CPNI, of numerous other customers
                                                                  3    who have become victims of SIM theft due to AT&T’s negligence and refusal to
                                                                  4    implement elementary security precautions.
                                                                  5                           THE PREVALENCE OF SIM CARD SWAP FRAUD
                                                                  6                       60.    AT&T is directly liable for the harm suffered by Mr. Terpin
                                                                  7    because it has long known that its customers are subject to SIM swap fraud (also
                                                                  8    called SIM swapping, SIM hijacking, or “port out scam”) perpetrated by hackers
                                                                  9    often with the active cooperation of its own employees and/or agents who readily
                                                                 10    evade AT&T’s ineffectual security measures. SIM swapping (also known as SIM
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                                                                 11    theft or SIM-jacking) consists of the unauthorized insertion of a “SIM” or
                                                                 12    “Subscriber Identity Module” (also known as a “SIM card”) into a mobile device
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                                                                 13    enabling the device to communicate with the service provider. A SIM contains data
                                                                 14    necessary to make a successful connection between the mobile phone and the
                                                                 15    telecommunications provider. SIM cards store files that are used to uniquely
                                                                 16    identify them.
                                                                 17                       61.    A “SIM swap” is a practice whereby a hacker gains access to a
                                                                 18    victim’s telephone account or number by having the carrier install a SIM card for
                                                                 19    the victim’s account into the hacker’s phone to redirect communications, including
                                                                 20    text messages, sent to the victim’s mobile telephone on a telephone controlled by
                                                                 21    the hacker. A perpetrator of a SIM-jack typically arranges through bribery of some
                                                                 22    person (often an employee of a telecommunications provider) with access to
                                                                 23    customer information at the carrier to have the carrier change the SIM card assigned
                                                                 24    to a user to a telephone under the control of the hacker or the hacker’s accomplices.
                                                                 25    Once the SIM transfer has occurred, the hacker uses his or her phone to
                                                                 26    impersonate the victim with service providers, such as e-mail providers, in order to
                                                                 27    locate accounts owned by the victim or to request changes to account settings, such
                                                                 28    as resetting passwords, to take control of the victim’s accounts or data.
                                                                      83764-00002/3747555.3                           24
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 25 of 72 Page ID #:807



                                                                  1                       62.   Perpetrators of SIM swap fraud frequently intercept 2-Factor
                                                                  2    Authentication (or “2FA”) messages sent to the victim’s telephone. 2FA is
                                                                  3    frequently used as a security mechanism for authentication purposes for online
                                                                  4    accounts, particularly for password changes or for authorization to access an
                                                                  5    account. Perpetrators of SIM swaps intercept the messages to gain access to the
                                                                  6    accounts owned by the victim, including cryptocurrency accounts or other accounts
                                                                  7    that provide access to wallets or accounts. Once the perpetrator gains access to a
                                                                  8    cryptocurrency wallet or account, the perpetrator transfers the cryptocurrency to
                                                                  9    wallets or accounts controlled by the perpetrator.
                                                                 10                       63.   The perpetrator of SIM swap fraud and subsequent theft—SIM
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                                                                 11    jackers—specifically target victims who they believe to be investors in
                                                                 12    cryptocurrency because of the nature of cryptocurrency transactions. The digital
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                                                                 13    assets embodied by cryptocurrency (such as Bitcoin or Ethereum) are a medium of
                                                                 14    exchange and store of value that uses cryptography to secure the transaction, as
                                                                 15    well as to store the value. Typically, the holder of cryptocurrency has both a
                                                                 16    “public” and a “private” key or address that the holder uses to receive, transfer, or
                                                                 17    use cryptocurrency. The private key, which is individual to the owner of the
                                                                 18    cryptocurrency, is used to write in the public ledger to transfer cryptocurrency.
                                                                 19    Because the key can be used to “spend” cryptocurrency, owners typically keep such
                                                                 20    keys secure. Such keys are complex. For example, in the case of Bitcoin, a 256-bit
                                                                 21    private key may contain 64 characters consisting of numbers and capitalized and
                                                                 22    uncapitalized letters.
                                                                 23                       64.   Once a transfer of cryptocurrency has occurred, it cannot be
                                                                 24    reversed. Cryptocurrency thus makes an attractive target for perpetrators of SIM
                                                                 25    swap fraud because the perpetrators can transfer stolen digital assets to wallets
                                                                 26    and/or accounts that are not readily traced or reversed and can be accessed
                                                                 27    anywhere in the world free from more traditional banking and electronic payments
                                                                 28    controls.
                                                                      83764-00002/3747555.3                          25
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 26 of 72 Page ID #:808



                                                                  1                       65.   The nature of SIM swapping has been described in several
                                                                  2    recent indictments of SIM-jackers. For example, in United States v. Freeman et al.,
                                                                  3    Case No. 2:19-cr-20246 (E.D. Michigan), which is attached hereto as Exhibit E, the
                                                                  4    indictment described “SIM Hijacking” or “SIM Swapping” as a “tactic [that]
                                                                  5    enabled The Community [a group of hackers] to gain control of a victim’s mobile
                                                                  6    phone number by linking that number to a subscriber identity module (‘SIM’) card
                                                                  7    controlled by The Community—resulting in the victim’s phone calls and short
                                                                  8    message service (‘SMS’) messages being routed to a device controlled by a
                                                                  9    member of The Community. Once The Community had control of a victim’s phone
                                                                 10    number, it was leveraged as a gateway to gain control of online accounts such as
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                                                                 11    the victim’s email, cloud storage, and cryptocurrency exchange accounts.
                                                                 12    Sometimes this was achieved by requesting a password-reset link be sent via SMS
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                                                                 13    to the device controlled by The Community. Sometimes passwords were
                                                                 14    compromised by other means, and The Community’s device was used to receive
                                                                 15    two-factor authentication (‘2FA’) messages sent via SMS intended for the victim.”
                                                                 16    See Indictment ¶¶ 3-4.
                                                                 17                       66.   The Indictment in Freeman further notes that during SIM swap
                                                                 18    attacks that hackers “appropriate the online identity of the victim” and that “SIM
                                                                 19    Hijacking was often facilitated by bribing an employee of a mobile phone provider”
                                                                 20    or by impersonating the victim. Id. ¶¶ 6-8.
                                                                 21                       67.   This description of SIM swapping is echoed in the Criminal
                                                                 22    Complaint in United States v. White et al., Case No. 2:19-mj-30227 (E.D.
                                                                 23    Michigan), which was filed on May 2, 2019 and is attached hereto as Exhibit F. In
                                                                 24    an Affidavit for Probable Cause in White, a Special Agent for Homeland Security
                                                                 25    Investigations, Mark R. Koch, describes SIM swapping in virtual identical terms to
                                                                 26    that in the Freeman case. He further outlines the involvement of Jarratt White and
                                                                 27    Robert Jack, former contract employees of AT&T in Tucson, in helping to facilitate
                                                                 28
                                                                      83764-00002/3747555.3                          26
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 27 of 72 Page ID #:809



                                                                  1    the thefts of a total of $2,143,471.59 in 41 SIM swaps in the single month of May
                                                                  2    2018 for a bribe from the hackers of $4,300.
                                                                  3                       68.   In addition to the foregoing cases, authorities in Santa Clara
                                                                  4    County have also brought highly publicized felony complaints against three
                                                                  5    perpetrator of SIM swaps. See https://stopsimcrime.org/legal/criminal/california-v-
                                                                  6    ortizfelony-criminal-complaint/. One of these cases involves Joel Ortiz. As
                                                                  7    described in a July 30, 2018 Motherboard article Ortiz was one of a group of
                                                                  8    criminals from Boston, who “used the increasingly popular technique known as
                                                                  9    SIM swapping or SIM hijacking to steal bitcoin, other cryptocurrencies and social
                                                                 10    media accounts.” In a fraud that mirrors the one suffered by Mr. Terpin some
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                                                                 11    months earlier, Ortiz “specifically targeted people involved in the world of
                                                                 12    cryptocurrency and blockchain,” including in an incident where he stole more than
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                                                                 13    $1.5 million from a cryptocurrency entrepreneur who was an AT&T customer.”
                                                                 14    (Emphasis added)
                                                                 15                       69.   The SIM swapping indictments referenced above have also
                                                                 16    gained considerable attention from commentators, who have highlighted the
                                                                 17    culpability of the telecommunications carriers as the weak link. See, e.g., Brian
                                                                 18    Krebs, “Nine Charged in Alleged SIM Swapping Ring,” May 10, 2019:
                                                                 19    https://krebsonsecurity.com/2019/05/nine-charged-in-alleged-sim-swapping-ring/,
                                                                 20    “More Alleged SIM Swappers Face Justice,” February 6, 2019:
                                                                 21    https://krebsonsecurity.com/2019/02/more-alleged-sim-swappers-face-justice/;
                                                                 22    “Alleged SIM Swapper Arrested in California,” August 22, 2018
                                                                 23    https://krebsonsecurity.com/2018/08/alleged-sim-swapper-arrested-in-california/;
                                                                 24    “Florida Man Arrested in SIM Swap Conspiracy,” August 7, 2018
                                                                 25    https://krebsonsecurity.com/2018/08/florida-man-arrested-in-sim-swap-conspiracy/
                                                                 26
                                                                                          70.   These reports also confirm the nature of SIM swaps. For
                                                                 27
                                                                       example, in an article in Motherboard entitled “ʻTell Your Dad to Give Us
                                                                 28
                                                                      83764-00002/3747555.3                           27
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 28 of 72 Page ID #:810



                                                                  1    Bitcoin:’ How a Hacker Allegedly Stole Millions by Hijacking Phone Numbers,”
                                                                  2    available at https://motherboard.vice.com/en_us/article/a3q7mz/hacker-allegedly-
                                                                  3    stole-millions-bitcoin-sim-swapping the author states that “SIM swapping consists
                                                                  4    of tricking a provider like AT&T or T-Mobile into transferring the target’s phone
                                                                  5    number to a SIM card controlled by the criminal. Once they get the phone number,
                                                                  6    fraudsters can leverage it to reset the victims’ passwords and break into their online
                                                                  7    accounts (cryptocurrency accounts are common targets.) In some cases, this works
                                                                  8    even if the accounts are protected by two-factor authentication. This kind of attack,
                                                                  9    also known as ‘port out scam,’ is relatively easy to pull off and has become
                                                                 10    widespread, as a recent Motherboard investigation showed.” Indeed, it is now
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                                                                 11    known that the hack reported in this Motherboard article was done by “The
                                                                 12    Community” with the active involvement of the AT&T employees criminally
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                                                                 13    charged in United States v. White.
                                                                 14                       71.   Similarly, the leading security reporter Brian Krebs wrote on
                                                                 15    August 18, 2018 (https://krebsonsecurity.com/2018/08/florida-man-arrested-in-
                                                                 16    sim-swap-conspiracy/ ) that “SIM swaps are frequently abused by scam artists who
                                                                 17    trick mobile providers into tying a target’s service to a new SIM card and mobile
                                                                 18    phone that the attackers control. Unauthorized SIM swaps often are perpetrated by
                                                                 19    fraudsters who have already stolen or phished a target’s password, as many banks
                                                                 20    and online services rely on text messages to send users a one-time code that needs
                                                                 21    to be entered in addition to a password for online authentication.” As Mr. Krebs
                                                                 22    also wrote: “[i]n some cases, fraudulent SIM swaps succeed thanks to lax
                                                                 23    authentication procedures at mobile phone stores. In other instances, mobile store
                                                                 24    employees work directly with cyber criminals to help conduct unauthorized SIM
                                                                 25    swaps. . . .” (Emphasis added.)
                                                                 26                       72.   One of the key common denominators of SIM swap fraud is the
                                                                 27    temporal proximity between the fact that a victim’s phone has been deactivated
                                                                 28    (once the hackers take over the number) and the loss of cryptocurrency. Typically,
                                                                      83764-00002/3747555.3                          28
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 29 of 72 Page ID #:811



                                                                  1    the hackers rapidly transfer cryptocurrency out of the victim’s wallet or account to
                                                                  2    wallets and/or accounts under their own control, after which they may “blend” or
                                                                  3    launder the cryptocurrency to make recovery more difficult if not impossible.
                                                                  4                       73.   As AT&T knows and as these reports and indictments confirm,
                                                                  5    the prevalence of SIM swapping is facilitated by the active involvement or
                                                                  6    negligence of AT&T and its employees who faced no restrictions or impediments
                                                                  7    or either readily overcame or simply bypassed the inadequate security measures that
                                                                  8    AT&T claims to put in place. This was highlighted by the statements of
                                                                  9    representatives of the REACT Task Force located in Santa Clara County which has
                                                                 10    made it its mission to investigate SIM swaps and apprehend hackers. In an
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                                                                 11    interview with Brian Krebs, Caleb Tuttle of REACT stated that SIM swapping
                                                                 12    happens “in one of three ways. The first is when the attacker bribes or blackmails a
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                                                                 13    mobile store employee into assisting in the crime. The second involves current
                                                                 14    and/or former store employees who knowingly abuse their access to customer data
                                                                 15    and the mobile company’s network. Finally, crooked store employees may trick
                                                                 16    unwitting associates at other stores into swapping a target’s existing SIM card with
                                                                 17    a new one.” See Brian Krebs, “Busting SIM Swappers and SIM Swap Myths,”
                                                                 18    Krebs on Security, November 7, 2018, available at
                                                                 19    https://krebsonsecurity.com/2018/11/busting-sim-swappers-and-sim-swap-myths/
                                                                 20    As noted by Mr. Krebs, these attacks are not sophisticated technologically, but are
                                                                 21    accomplished or aided by coopted AT&T employees who make an end run around
                                                                 22    the ineffectual protections placed in effect by AT&T.
                                                                 23                       74.   Representatives of the REACT task force directly blamed
                                                                 24    mobile carriers for the prevalence of SIM swaps stating that “it’s still very, very
                                                                 25    easy to SIM swap” and that “someone needs to light a fire under some folks [at the
                                                                 26    telecommunications providers] to get these protections in place.” (Emphasis
                                                                 27    added.) Sgt. Terazi of REACT also noted that “there’s a vast disconnect between a
                                                                 28    mobile company’s corporate offices and security policies at the local store level.
                                                                      83764-00002/3747555.3                         29
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 30 of 72 Page ID #:812



                                                                  1    ‘These are multi-billion companies, and in any big company it’s fairly common that
                                                                  2    the left hand doesn’t know what the right hand is doing.’” Id.
                                                                  3                       75.   Mr. Terpin alleges on information and belief that AT&T knew
                                                                  4    well before the attacks on Mr. Terpin that it was subject to widespread SIM swap
                                                                  5    fraud through the active involvement of its employees. Mr. Terpin further alleges
                                                                  6    on information and belief that the top echelons of AT&T’s parent company, AT&T,
                                                                  7    Inc., knew of the involvement of AT&T employees in SIM swaps. Based on
                                                                  8    publicly available information (which is the only information that Mr. Terpin has
                                                                  9    prior to discovery), Mr. Terpin alleges on information and belief that AT&T’s
                                                                 10    Senior Vice President and Chief Security Officer Bill O’Hern, who has headed
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                                                                 11    AT&T’s security operations since 2016 and AT&T’s Executive Vice President &
                                                                 12    Chief Compliance Officer David S. Huntley both had knowledge regarding the
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                                                                 13    structural security flaws and lapses that allowed AT&T employees ready
                                                                 14    involvement in SIM swapping. See
                                                                 15    https://about.att.com/innovationblog/030116billohern; see also
                                                                 16    https://investors.att.com/corporate-governance/leadership (article on David S.
                                                                 17    Huntley states that since 2014 he “is responsible for developing policies to
                                                                 18    safeguard the privacy of customer and employee information, verifying compliance
                                                                 19    with the legal and regulatory requirements of the countries and jurisdictions where
                                                                 20    AT&T operates, and ensuring adherence to internal compliance requirements.”) In
                                                                 21    addition, Mr. Terpin alleges that other AT&T officers, including the executives to
                                                                 22    whom Mr. O’Hern and Mr. Huntley report, were likely to have had knowledge
                                                                 23    regarding AT&T’s failure to implement adequate security protections against SIM
                                                                 24    swapping.
                                                                 25                       76.    Mr. Terpin alleges further that AT&T knew that
                                                                 26    cryptocurrency investors like Plaintiff were specifically targeted by SIM swapping
                                                                 27    through interception of SMS or 2FA messages for password changes and account
                                                                 28    access and that AT&T was the weak link in such fraud. This is confirmed in
                                                                      83764-00002/3747555.3                         30
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 31 of 72 Page ID #:813



                                                                  1    numerous articles on SIM swap fraud, including that of Brian Krebs and a July 31,
                                                                  2    2018 article in bitcoinist.com entitled “Sim-Swapping Bitcoin Thief Charged in
                                                                  3    California Court,” available at https://bitcoinist.com/sim-swapping-bitcoin-thief-
                                                                  4    charged-california-court/. The bitcoinist.com article states that “the liability for
                                                                  5    [SIM swapping] attacks [lies] squarely at the feet of the service providers [which
                                                                  6    the article calls the ‘weakest link’] as security procedures for confirming identity
                                                                  7    should not be bypass-able using a few pieces of personal information easily
                                                                  8    obtained online.”
                                                                  9                       77.   Mr. Terpin also alleges on information and belief that AT&T’s
                                                                 10    officers, including Chief Compliance Officer David S. Huntley and Chief Security
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                                                                 11    Officer Bill O’Hern because of their job responsibilities for privacy and security
                                                                 12    knew or should have known that its employees frequently cooperated with hackers
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                                                                 13    and thieves to bypass its security procedures. This is confirmed not only by the
                                                                 14    reports cited above but also by Brian Krebs, who wrote that “mobile store
                                                                 15    employees work directly with cyber criminals,” and in an August 3, 2018 article in
                                                                 16    Motherboard entitled “How Criminals Recruit Telecom Employees to Help them
                                                                 17    Hijack SIM Cards,” available at
                                                                 18    https://motherboard.vice.com/en_us/article/3ky5a5/criminals-recruit-telecom-
                                                                 19    employees-sim-swapping-port-out-scam, which describes how scammers routinely
                                                                 20    recruit and pay employees of AT&T and other Telecoms called “plugs” to perform
                                                                 21    illegal SIM swaps.
                                                                 22                       78.   Mr. Terpin further alleges on information and belief that despite
                                                                 23    its knowledge that its employees and agents actively cooperate with hackers to rob
                                                                 24    its own customers, AT&T, including Bill O’Hern and David S. Huntley, is doing
                                                                 25    nothing to prevent such scams. As an AT&T employee confirmed in the August 3,
                                                                 26    2018 Motherboard article, “if a criminal finds a corrupt insider, ‘there aren’t
                                                                 27    enough safeguards [in place] to stop that employee,’ . . ..” The AT&T employee
                                                                 28    further told the author of the article that “the system is designed so that some
                                                                      83764-00002/3747555.3                           31
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 32 of 72 Page ID #:814



                                                                  1    employees have the ability to override security features such as the phone passcode
                                                                  2    that AT&T (and other companies) now require when porting numbers. ‘From there
                                                                  3    the passcode can be changed,’ the employee said in an online chat, referring to a
                                                                  4    customer information portal that they showed Motherboard. ‘With a fresh
                                                                  5    passcode the number can be ported out with no hang ups.’” (Emphasis added.)
                                                                  6                       79.   AT&T officers Bill O’Hern, who is in charge of security, and
                                                                  7    David S. Huntley, who is in charge of privacy, knew or should have known about
                                                                  8    the privacy and security flaws that are rampant at AT&T and allowed employees
                                                                  9    readily to gain access to customer accounts to facilitate SIM swapping.
                                                                 10                       80.   Mr. Terpin alleges on information and belief that countless
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                                                                 11    AT&T customers have been and are continuing to be the victims of SIM swapping
                                                                 12    and that those customers have lost hundreds of millions of dollars or more because
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                                                                 13    of the fraud. This is confirmed by the indictments that have been brought against
                                                                 14    hackers and in numerous news stories referenced herein. These indictments
                                                                 15    literally are the tip of the iceberg of a phenomenon that is plaguing the
                                                                 16    cryptocurrency community and others, including owners of valuable Instagram and
                                                                 17    social media accounts.
                                                                 18                       81.   This is further confirmed in the August 18, 2018 article by Brian
                                                                 19    Krebs, which describes the arrest of Ricky Joseph Handschumacher in Florida, who
                                                                 20    was charged with grand theft and money laundering for draining cryptocurrency
                                                                 21    accounts through SIM fraud. According to Krebs, Handschumacher’s group came
                                                                 22    to light “when a Michigan woman called police after she overheard her son talking
                                                                 23    on the phone and pretending to be an AT&T employee. Officers responding to the
                                                                 24    report searched the residence and found multiple cell phones and SIM cards, as well
                                                                 25    as files on the kid’s computer that included ‘an extensive list of names and phone
                                                                 26    numbers of people from around the world.’”
                                                                 27                       82.   Krebs’ report further revealed that “[t]he Pasco County [Florida]
                                                                 28    Sheriff’s office says their surveillance of the Discord [voice chat] server revealed
                                                                      83764-00002/3747555.3                           32
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 33 of 72 Page ID #:815



                                                                  1    that the group routinely paid employees at cellular phone companies to assist in
                                                                  2    their attacks, and that they even discussed a plan to hack accounts belonging to the
                                                                  3    CEO of cryptocurrency exchange Gemini Trust Company.” (Emphasis added.)
                                                                  4                       83.   Mr. Terpin alleges on information and belief that AT&T is fully
                                                                  5    aware of these and numerous other SIM swapping incidents involving its
                                                                  6    customers, including incidents where its own employees were complicit with
                                                                  7    hackers. Mr. Terpin further alleges that Bill O’Hern and David S. Huntley and
                                                                  8    other AT&T executives knew of such incidents because they headed up the security
                                                                  9    and privacy efforts at AT&T and would thus have been aware of allegations in the
                                                                 10    press and inquiries of law enforcement authorities. For example, the Motherboard
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                                                                 11    article confirms that AT&T had provided investigators with the victim’s call
                                                                 12    records “for the days when the hacker was allegedly in control of the investor’s
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                                                                 13    numbers.” Indeed, those records were used by law enforcement in issuing a
                                                                 14    warrant for e-mails from the phone which produced incriminating evidence against
                                                                 15    Ortiz.
                                                                 16                       84.   Mr. Terpin further alleges on information and belief that federal
                                                                 17    enforcement agencies have compiled proof that insiders at AT&T cooperated in
                                                                 18    SIM swap fraud that was directed at members of the cryptocurrency community
                                                                 19    and that AT&T officers, including Bill O’Hern and David S. Huntley, were aware
                                                                 20    of the actions and investigations of these law enforcement agencies Mr. Terpin
                                                                 21    further alleges that such insiders actively cooperated with hackers to provide them
                                                                 22    customer list information.
                                                                 23                       85.   The prevalence of SIM swap fraud and AT&T’s knowledge of
                                                                 24    such fraud, including the active participation of its own employees in the fraud,
                                                                 25    demonstrate that the January 7, 2018 SIM swap fraud on Mr. Terpin that led to the
                                                                 26    theft of nearly $24 million in cryptocurrency was neither an isolated nor an
                                                                 27    unforeseeable event.
                                                                 28
                                                                      83764-00002/3747555.3                           33
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 34 of 72 Page ID #:816



                                                                  1                                    THE JUNE 11, 2017 HACK
                                                                  2                       86.   On or about June 11, 2017, Mr. Terpin discovered that his
                                                                  3    AT&T cell phone number had been hacked when his phone suddenly became
                                                                  4    inoperable. As Mr. Terpin learned from AT&T a few days later, his AT&T
                                                                  5    password had been changed remotely after 11 attempts in AT&T stores had failed.
                                                                  6    By obtaining control over Mr. Terpin’s phone, the hackers diverted Mr. Terpin’s
                                                                  7    personal information, including telephone calls and text messages, to get access to
                                                                  8    accounts that use telephone numbers as a means of verification or authentication
                                                                  9    through the process of 2FA and to change the passwords of those accounts.
                                                                 10                       87.   After the hackers took charge of Mr. Terpin’s telephone number,
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                                                                 11    the hackers accessed Mr. Terpin’s telephone to divert texts and telephone calls to
                                                                 12    gain access to Mr. Terpin’s cryptocurrency accounts using the SIM swapping
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                                                                 13    method described above. The hackers also used their phone (which now had Mr.
                                                                 14    Terpin’s number) to hijack Mr. Terpin’s Skype account to impersonate him. By
                                                                 15    that means, the hackers convinced a client of Mr. Terpin to send them
                                                                 16    cryptocurrency and diverted a payment due to Mr. Terpin to themselves. AT&T
                                                                 17    finally cut off access by the hackers to Mr. Terpin’s telephone number on June 11,
                                                                 18    2017, but only after the hackers had stolen substantial funds from Mr. Terpin.
                                                                 19    Moreover, because of the hack, Mr. Terpin expended a substantial amount of time
                                                                 20    investigating the hack and attempting to repair his computer accounts. As with
                                                                 21    other SIM swaps, there was a close temporal proximity between Mr. Terpin losing
                                                                 22    control over his phone and his loss of funds.
                                                                 23                       88.   On or about June 13, 2017, Mr. Terpin met with AT&T
                                                                 24    representatives in Puerto Rico to discuss the June 11, 2017 hack. Mr. Terpin
                                                                 25    explained to AT&T that he had been hacked and that the hackers had stolen a
                                                                 26    substantial amount of money from him. Mr. Terpin expressed concern about
                                                                 27    AT&T’s ineffective security protections and asked how he could protect the
                                                                 28
                                                                      83764-00002/3747555.3                          34
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 35 of 72 Page ID #:817



                                                                  1    security of his phone number and account against future unauthorized access,
                                                                  2    including hackers attempting to perpetrate SIM swap fraud.
                                                                  3                       89.   In response to Mr. Terpin’s request for greater security for his
                                                                  4    account and in order to induce Mr. Terpin to continue as an AT&T customer,
                                                                  5    AT&T promised that it would place his account on a “higher security level” with
                                                                  6    “special protection.” AT&T told Mr. Terpin that this “higher security level” would
                                                                  7    require anyone accessing or changing Mr. Terpin’s account to provide a six-digit
                                                                  8    passcode to AT&T to access or change the account. Anyone requesting AT&T to
                                                                  9    transfer Mr. Terpin’s telephone number to another phone must provide the code.
                                                                 10    AT&T promised Mr. Terpin at this meeting that the higher security that it was
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                                                                 11    placing on his account, which it also called “high risk” or “celebrity” protection,
                                                                 12    would ensure that Mr. Terpin’s account was much less likely to be subject to SIM
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                                                                 13    swap fraud. AT&T further told Mr. Terpin that the implementation of the increased
                                                                 14    security measures would prevent Mr. Terpin’s number from being moved to
                                                                 15    another phone without Mr. Terpin’s explicit permission, because no one other than
                                                                 16    Mr. Terpin and his wife would know the secret code. AT&T made all of these
                                                                 17    promises to convince Mr. Terpin to continue to be an AT&T customer.
                                                                 18                       90.   Mr. Terpin alleges on information and belief that AT&T’s “high
                                                                 19    risk” or “celebrity” protection was created with the knowledge and approval of
                                                                 20    AT&T’s officers, including Bill O’Hern and David S. Huntley, who are in charge
                                                                 21    of AT&T’s security and privacy efforts. Indeed, Mr. Huntley’s biography on the
                                                                 22    AT&T website states that he has direct responsibility for “developing policies to
                                                                 23    safeguard the privacy of customer . . . information,” such as the “high risk”
                                                                 24    program that AT&T promoted to Mr. Terpin to get him to remain with AT&T after
                                                                 25    the first SIM swap.
                                                                 26                       91.   At alleged above, AT&T (including Mr. O’Hern and Mr.
                                                                 27    Huntley) was well aware at the time of the June 11, 2017 incident that its users
                                                                 28    were subject to SIM swap fraud. It was also well aware that its employees
                                                                      83764-00002/3747555.3                           35
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 36 of 72 Page ID #:818



                                                                  1    cooperated in such fraud and that the employees could bypass its security
                                                                  2    procedures. Mr. Terpin alleges on information and belief that AT&T had been
                                                                  3    previously contacted numerous times by law enforcement authorities about such
                                                                  4    frauds involving its own employees who actively cooperated with hackers. Given
                                                                  5    their responsibilities in the company, Mr. O’Hern and Mr. Huntley would have
                                                                  6    been aware of such contacts and communicated such risks to other executives at
                                                                  7    AT&T at the highest level. Nonetheless, AT&T recommended that customers who
                                                                  8    were concerned about fraudulent actions on their account add AT&T’s purported
                                                                  9    “extra security” by adding a “wireless security password” to protect their account.
                                                                 10    AT&T touted the benefits of such “extra” security on its website because it would
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                                                                 11    require a password for “managing your account in any retail store.” See
                                                                 12    https://www.att.com/esupport/article.html#!/wireless/KM1051397 (emphasis
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                                                                 13    added).
                                                                 14                       92.   Mr. Terpin relied upon AT&T’s promises that his account
                                                                 15    would be much more secure against hacking, including SIM swap fraud, after it
                                                                 16    implemented the increased security measures. Mr. Terpin had no means of
                                                                 17    knowing that these promises were false and that AT&T, including officers such as
                                                                 18    Mr. O’Hern and Mr. Huntley, knew that these measures were inadequate because
                                                                 19    they were being readily bypassed or evaded. Because of AT&T’s promises that
                                                                 20    such measures would be effective, Mr. Terpin retained his account with AT&T.
                                                                 21    But for these express promises and assurances regarding greater security, Mr.
                                                                 22    Terpin would have canceled his AT&T account and contracted with a different
                                                                 23    cellular telephone provider and he would not have lost nearly $24 million from
                                                                 24    hackers.
                                                                 25                       93.   Mr. Terpin further alleges on information and belief that AT&T,
                                                                 26    including officers such as Mr. O’Hern and Mr. Huntley, knew at the time that it
                                                                 27    recommended that he adopt additional security on his account that the additional
                                                                 28    security measures were not adequate and could be overridden or ignored by its
                                                                      83764-00002/3747555.3                          36
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 37 of 72 Page ID #:819



                                                                  1    employees. In reality, the vaunted extra protection was, like the Maginot Line, a
                                                                  2    useless defense that was easily evaded by AT&T’s own employees, who it knew or
                                                                  3    should have known actively cooperated with hackers in SIM swap fraud. Despite
                                                                  4    AT&T’s knowledge of the futility of these actions, AT&T falsely promised Mr.
                                                                  5    Terpin, to his detriment, that he should implement such additional security
                                                                  6    measures.
                                                                  7                             THE JANUARY 7, 2018 SIM SWAP FRAUD
                                                                  8                       94.    AT&T’s promises proved to be false and the increased security
                                                                  9    illusory. On Sunday January 7, 2018, an employee in an AT&T store cooperated
                                                                 10    with an imposter committing SIM swap fraud. Unbeknownst to Mr. Terpin, AT&T
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                                                                 11    had grossly misrepresented its ability to secure Mr. Terpin’s Personal Information
                                                                 12    after the June 11, 2017 incident. Not only had AT&T failed to disclose that it did
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                                                                 13    not properly supervise, train or monitor its employees to ensure that they
                                                                 14    scrupulously followed AT&T’s security procedures, but it also failed to disclose
                                                                 15    that it knew that its employees could readily bypass the higher security protection
                                                                 16    placed on Mr. Terpin’s account after the June 11, 2017 hack.
                                                                 17                       95.    On January 7, 2018, Mr. Terpin’s phone with his AT&T
                                                                 18    wireless number went dead. Mr. Terpin was again a victim of SIM swap fraud that
                                                                 19    allowed a hacker to take control of his phone and to divert 2FA messages to change
                                                                 20    passwords for and to gain access to Mr. Terpin’s accounts and files. As AT&T
                                                                 21    later admitted, an employee in an AT&T store in Norwich, Connecticut ported over
                                                                 22    Mr. Terpin’s wireless number to an imposter in violation of AT&T’s commitments
                                                                 23    and promises, including the higher security that it had supposedly placed on Mr.
                                                                 24    Terpin’s account after the June 11, 2017 hack that had supposedly been
                                                                 25    implemented to prevent precisely such fraud. Through the January 7, 2018 hack,
                                                                 26    thieves gained control over Mr. Terpin’s accounts and stole nearly $24 million
                                                                 27    worth of cryptocurrency from him on January 7 and 8, 2018. There was thus again
                                                                 28
                                                                      83764-00002/3747555.3                           37
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 38 of 72 Page ID #:820



                                                                  1    a close temporal proximity between Mr. Terpin losing control of his phone and the
                                                                  2    theft of his cryptocurrency.
                                                                  3                       96.   Although the precise method of the theft is known only to the
                                                                  4    hackers, Mr. Terpin alleges on information and belief that: the hackers used a
                                                                  5    mobile telephone in their possession with a SIM card with Mr. Terpin’s telephone
                                                                  6    number to identify Mr. Terpin’s password protected files or programs; once they
                                                                  7    had identified such programs, they sent a password reset request to the program or
                                                                  8    programs which then sent a 2FA message to Mr. Terpin’s telephone number, which
                                                                  9    was by virtue of the SIM swap in the hackers’ possession; having gained access to
                                                                 10    the program or programs with a new password which the hackers constructed, the
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                                                                 11    hackers located a file with confidential information to access Mr. Terpin’s wallets
                                                                 12    and/or accounts holding nearly $24 million of Mr. Terpin’s cryptocurrency; and
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                                                                 13    inputting Mr. Terpin’s confidential information, they then transferred or attempted
                                                                 14    to transfer the cryptocurrency to wallets and/or accounts under their control. When
                                                                 15    he discovered that his cryptocurrency had been transferred, Mr. Terpin requested
                                                                 16    that exchanges reverse the transactions. It was too late. Virtually all of the
                                                                 17    cryptocurrency taken by the hackers had been transferred to wallets or accounts
                                                                 18    exclusively under the hackers’ control.
                                                                 19                       97.   When Mr. Terpin’s telephone went dead on January 7, 2018, he
                                                                 20    instantly attempted to contact AT&T to have the telephone number immediately
                                                                 21    canceled so that the hackers would not gain access to his Personal Information and
                                                                 22    accounts. Ignoring Mr. Terpin’s urgent request, AT&T failed promptly to cancel
                                                                 23    Mr. Terpin’s account, which gave the hackers sufficient time to obtain information
                                                                 24    about Mr. Terpin’s cryptocurrency holdings and to spirit off funds to their own
                                                                 25    accounts. Adding insult to injury, AT&T placed Mr. Terpin’s wife on endless hold
                                                                 26    (over an hour!) when she asked to be connected to AT&T’s fraud department while
                                                                 27    Mr. Terpin was furiously attempting to see what damage was being done to his
                                                                 28    accounts. Mr. Terpin’s wife never reached AT&T’s fraud department because it
                                                                      83764-00002/3747555.3                          38
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 39 of 72 Page ID #:821



                                                                  1    apparently does not work (or is unavailable) on Sundays. But the hackers work on
                                                                  2    Sunday!
                                                                  3                       98.   The employees at the AT&T store who unlawfully handed over
                                                                  4    Mr. Terpin’s telephone number to thieves were either blind or complicit. It was
                                                                  5    impossible to look at Mr. Terpin’s account information on the AT&T computer
                                                                  6    screen and not see the multiple warnings about the need for heightened vigilance,
                                                                  7    particularly the requirement of a six-digit password. Nonetheless, as AT&T had
                                                                  8    reason to know before the January 7, 2018 incident (but had never informed Mr.
                                                                  9    Terpin or other customers), its employees could readily bypass its much-touted
                                                                 10    security procedures.
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                                                                 11                       99.   In cooperating willingly with hackers committing SIM swap
                                                                 12    fraud to plunder Mr. Terpin’s accounts, AT&T violated its own policies as well as
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                                                                 13    the requirements of Section 222 of the FCA and the FCC Consent Decree. On
                                                                 14    information and belief, AT&T knew that its employees were frequently complicit
                                                                 15    with SIM swap frauds and could readily bypass its security procedures. Mr. Terpin
                                                                 16    further alleges that AT&T did not even attempt to require the hacker to provide the
                                                                 17    six-digit code that AT&T required for access to Mr. Terpin’s “high profile” account
                                                                 18    or to require a supervisor to approve the manual override. Indeed, AT&T admitted
                                                                 19    to Mr. Terpin on February 4, 2018 that a sales associate in AT&T’s Norwich,
                                                                 20    Connecticut location had violated AT&T’s procedures by not only failing to ask for
                                                                 21    the six-digit code, but also by bypassing its requirement that the hacker have a
                                                                 22    scannable ID to obtain a replacement SIM card for Mr. Terpin’s wireless number.
                                                                 23    On information and belief, Mr. Terpin alleges that the employee in the AT&T store
                                                                 24    who handed over the SIM card to the imposter had a criminal record and was
                                                                 25    cooperating with the hacker and that AT&T had failed properly to supervise the
                                                                 26    employee, despite its knowledge that its employees cooperated in precisely this
                                                                 27    type of fraud.
                                                                 28
                                                                      83764-00002/3747555.3                         39
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 40 of 72 Page ID #:822



                                                                  1                       100. Because of AT&T’s cooperation and failure to follow its own
                                                                  2    policies, the hackers were able to intercept Mr. Terpin’s personal information,
                                                                  3    including telephone calls and text messages, change passwords, access programs
                                                                  4    and files and locate information that allowed them to gain access to his
                                                                  5    cryptocurrency wallets and/or accounts.
                                                                  6                       101. Because of AT&T’s willing cooperation with the hacker, gross
                                                                  7    negligence, violation of its statutory duties, and failure to adhere to its
                                                                  8    commitments in its Privacy Policy and COBC, as well as its obligations under the
                                                                  9    FCC Consent Degree and its commitments to Mr. Terpin after the June 11, 2017
                                                                 10    hack, Mr. Terpin lost nearly $24 million worth of cryptocurrency.
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                                                                 11                       102. To Mr. Terpin’s knowledge, AT&T never informed either the
                                                                 12    FCC, the FBI or any other law enforcement or regulatory authority about the
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                                                                 13    January 7, 2018 SIM swap. Nor did AT&T ever provide Mr. Terpin with a written
                                                                 14    explanation of how the SIM swap fraud occurred or a claim form, let alone an
                                                                 15    apology for facilitating the hack. In contrast, Mr. Terpin himself reported the
                                                                 16    January 7, 2018 SIM swap to the FBI and the Secret Service Cyber Crimes Unit
                                                                 17    and has actively sought an investigation of the hack and recovery of the stolen
                                                                 18    funds.
                                                                 19                       103. On information, Mr. Terpin alleges that AT&T did not
                                                                 20    discipline or terminate the employee who turned over a SIM card for his telephone
                                                                 21    number to imposters and who facilitated the theft of nearly $24 million worth of
                                                                 22    Mr. Terpin’s cryptocurrency.
                                                                 23                       MR. TERPIN’S SPECIAL RELATIONSHIP WITH AT&T
                                                                 24
                                                                                          104. As alleged herein, and to the extent that it is determined to be
                                                                 25
                                                                       applicable to certain claims, Mr. Terpin had a “special relationship with AT&T” as
                                                                 26
                                                                       defined in J’Aire Corporation v. Gregory, 24 Cal. 3d 799, 804 (1979) (“J’Aire”).
                                                                 27
                                                                       Mr. Terpin undoubtedly had a contract for services with AT&T where he and
                                                                 28
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 41 of 72 Page ID #:823



                                                                  1    AT&T were in contractual privity. The services consisted of the provision of
                                                                  2    mobile telephone services, including the ability not only to make telephone calls,
                                                                  3    but also to receive messages (including SMS and 2FA communications), access the
                                                                  4    Internet, send e-mail messages, and access and use a wide variety of programs and
                                                                  5    applications. See Riley v. California, 134 S.Ct. 2473, 2489 (2014) (“The term ‘cell
                                                                  6    phone’ is itself misleading shorthand; many of these devices are in fact
                                                                  7    minicomputers that happen to have the capacity to be used as a telephone”). AT&T
                                                                  8    is well aware of the increasingly sophisticated nature of telephone devices, and
                                                                  9    actively participates in their selling and leasing, and has a variety of plan options
                                                                 10    for services that are geared toward the ever-expanding uses of such devices.
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                                                                 11                       105. The transaction between AT&T and Mr. Terpin was
                                                                 12    undoubtedly meant to benefit Mr. Terpin by providing him the ability to use his
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                                                                 13    mobile telephone (or mini-computer) for all of the purposes which he expected and
                                                                 14    which were intended by AT&T. See J’Aire, 24 Cal. 3d at 804.
                                                                 15                       106. Moreover, it was entirely foreseeable to AT&T that Mr. Terpin
                                                                 16    would be harmed if he would not longer to be able to use his telephone for its
                                                                 17    intended purposes and instead that private communications intended for Mr. Terpin
                                                                 18    were intercepted by hackers. For example, the harm that results from a hacker
                                                                 19    intercepting a password reset 2FA message is entirely foreseeable in that the hacker
                                                                 20    changes the password and thus gains control of the program in question (e.g., mail
                                                                 21    or a file storage site) and can then extract the information in the program for the
                                                                 22    hacker’s own purposes, including accessing cryptocurrency wallets and/or accounts
                                                                 23    and exfiltrating cryptocurrency to the hacker’s own wallets and/or accounts. Id.
                                                                 24                       107. In this case, Mr. Terpin certainly suffered injury by being
                                                                 25    deprived of almost $24 million in cryptocurrency. Id.
                                                                 26                       108. As required by J’Aire, there is also a close connection between
                                                                 27    AT&T’s conduct and the injury suffered by Mr. Terpin. But for AT&T’s allowing
                                                                 28    the hackers to swap Mr. Terpin’s SIM into a phone controlled by them, the theft of
                                                                      83764-00002/3747555.3                           41
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 42 of 72 Page ID #:824



                                                                  1    cryptocurrency could not have happened in close proximity to the swap because the
                                                                  2    hackers would have had no means of accessing files belonging to Mr. Terpin,
                                                                  3    resetting his passwords by accessing 2FA message, gaining access to the accounts
                                                                  4    protected by such passwords, using the information in the accounts to access
                                                                  5    cryptocurrency wallets and/or accounts, and transferring funds to wallets and/or
                                                                  6    accounts of their own control. This close connection is further reinforced by the
                                                                  7    temporal proximity between the SIM swap and the hacks of Mr. Terpin’s accounts,
                                                                  8    as well as the broader general evidence of the increase in SIM swapping and reports
                                                                  9    of other hacks. Id.
                                                                 10                       109. AT&T’s conduct also involves moral blame. Aware of the
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                                                                 11    vulnerability of its customers in having their Personal Information stolen through
                                                                 12    SIM swapping, AT&T has done nothing to prevent that practice, including
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                                                                 13    enforcing its own privacy policy and adhering to its promises to provide special or
                                                                 14    additional protection to its customers’ accounts. AT&T is also morally culpable in
                                                                 15    failing to reign in its own employees’ knowing or negligent participation in these
                                                                 16    fraudulent practices. AT&T’s behavior is particularly reprehensible regarding Mr.
                                                                 17    Terpin. AT&T was fully aware that Mr. Terpin had been the victim of SIM jacking
                                                                 18    and promised that it would put extra protection on his account to retain him as a
                                                                 19    customer. In fact, AT&T did nothing to protect Mr. Terpin. As one of the world’s
                                                                 20    largest companies, AT&T has the resources to do better and yet it turns an
                                                                 21    indifferent eye to the widespread violation of the privacy of its own customers. Id.
                                                                 22                       110. Mr. Terpin’s lawsuit fulfills the policy of preventing future
                                                                 23    harm. J’Aire. Mr. Terpin’s complaint against AT&T has received widespread
                                                                 24    publicity and has publicized the phenomenon of SIM swapping and the complicity
                                                                 25    of AT&T in such practice. Because the FCC is apparently not taking an active role
                                                                 26    in policing AT&T’s violations of the FCA, it is up to plaintiffs like Mr. Terpin
                                                                 27    through lawsuits to help stem AT&T’s culpable involvement` in a practice that is
                                                                 28    leading to widespread harm. This is all the more urgent because AT&T claims to
                                                                      83764-00002/3747555.3                           42
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 43 of 72 Page ID #:825



                                                                  1    be immune from class actions which would otherwise be a potential vehicle for
                                                                  2    victims of SIM swaps. See AT&T wireless customer agreement discussed in the
                                                                  3    First Claim for Relief.
                                                                  4                                   FIRST CLAIM FOR RELIEF
                                                                  5                                         (Declaratory Relief:
                                                                  6         Unenforceability of AT&T Consumer Agreement as Unconscionable and
                                                                  7                                      Contrary to Public Policy)
                                                                  8                       111. Mr. Terpin brings this claim for declaratory relief under 28
                                                                  9    U.S.C. § 2201 to have the Court declare that AT&T’s wireless customer agreement
                                                                 10    (the “Agreement”) is unconscionable, void against public policy under Cal. Civ.
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                                                                 11    Code §§ 1670.5 and 1668, and unenforceable in its entirety.
                                                                 12                       112. Mr. Terpin initially entered into a wireless contract with AT&T
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                                                                 13    in or about 2011 when he transferred the account from his wife. Mr. Terpin has
                                                                 14    asked AT&T for a copy of his agreement, but AT&T refused to provide it to him.
                                                                 15    Mr. Terpin thus has no copy of any agreement with AT&T for wireless services.
                                                                 16                       113. The agreement was presented to Mr. Terpin, like all other
                                                                 17    wireless users, on a take-it-or-leave-it basis. Mr. Terpin had no ability to negotiate
                                                                 18    any term of the agreement. In contrast, AT&T has virtually unlimited power over
                                                                 19    its customers, including Mr. Terpin, as seen below by the fact that it purports to
                                                                 20    hold Mr. Terpin and all other wireless users to the terms of an agreement that they
                                                                 21    may well have never seen or read.
                                                                 22                       114. The version of the Agreement posted in early 2018 purports to
                                                                 23    govern AT&T’s provision of wireless service to all customers, including Mr.
                                                                 24    Terpin who first contracted with AT&T over two decades ago. A true and correct
                                                                 25    copy of the Agreement posted on AT&T’s website in early 2018 at
                                                                 26    https://www.att.com/legal/terms.wirelessCustomerAgreement-list.html is attached
                                                                 27    hereto as Exhibit D. As alleged below, the Agreement contains numerous
                                                                 28    unconscionable terms that renders it unenforceable in its entirety because its
                                                                      83764-00002/3747555.3                           43
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 44 of 72 Page ID #:826



                                                                  1    “central purpose . . . is tainted with illegality.” Ingle v. Circuit City Stores, Inc.,
                                                                  2    328 F.3d 1165, 1180 (9th Cir. 2003) (holding invalid an agreement that obstructs the
                                                                  3    ability of customers to bring any claims against defendant).
                                                                  4                       115. The Agreement states that the Agreement and other agreements
                                                                  5    that are “not otherwise described below that are posted on applicable AT&T
                                                                  6    websites or devices, and any documents expressly referred to herein or therein,
                                                                  7    make up the complete agreement between you and AT&T and supersede any and
                                                                  8    all prior agreements and understandings relating to the subject matter of this
                                                                  9    Agreement.” Through such vague language, AT&T apparently contends that not
                                                                 10    only the Agreement, but other unspecified and unknown agreements, bind all
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                                                                 11    wireless customers, whether or not such customers have seen the Agreement or are
                                                                 12    aware of its terms. In other words, every time AT&T mints a new (and more
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                                                                 13    onerous) version of its agreements, its unsuspecting customers are purportedly
                                                                 14    bound by the new terms. This practice highlights the fact that not only are these
                                                                 15    contracts not negotiable, they are invisible. What you don’t see, you still get.
                                                                 16                       116. The Agreement is a classic contract of adhesion imposed by
                                                                 17    AT&T upon a party with no bargaining power. In contrast, AT&T has unchecked
                                                                 18    power to insist upon its own terms even if the consumer is unaware of the terms of
                                                                 19    the Agreement itself. There is no ability to negotiate any term of the Agreement. It
                                                                 20    is literally “take it or leave it.”
                                                                 21                       117. The Agreement is void as against public policy under Cal. Civ.
                                                                 22    Code § 1668 as a contract of adhesion purporting to bind customers who have never
                                                                 23    heard or seen the agreement and most likely are entirely unaware of its provisions.
                                                                 24    The Agreement is void and unenforceable in its entirety because it also contains
                                                                 25    exculpatory provisions, damage waivers, and an indemnification provision that
                                                                 26    purport to prevent consumers from bringing any claims against AT&T or obtaining
                                                                 27    redress for their claims -- even for billing errors.
                                                                 28
                                                                      83764-00002/3747555.3                          44
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 45 of 72 Page ID #:827



                                                                  1                       118. The exculpatory provision in Paragraph 4.1 of the Agreement
                                                                  2    (“Exculpatory Provision”) contains numerous provisions that are contrary to public
                                                                  3    policy under Cal. Civ. Code § 1668 because they attempt to exempt AT&T from
                                                                  4    responsibility for its own gross negligence, fraud, and violations of law. In
                                                                  5    pertinent part, the Exculpatory Provision states that:
                                                                  6                       WE DO NOT GUARANTEE YOU UNINTERRUPTED SERVICE
                                                                  7                       OR COVERAGE. . . . AT&T MAKES NO WARRANTY,
                                                                  8                       EXPRESS OR IMPLIED, OF MERCHANTABILITY OR FITNESS
                                                                  9                       FOR A PARTICULAR PURPOSE, SUITABILITY, ACCURACY,
                                                                 10                       SECURITY OR PERFORMANCE REGARDING ANY SERVICES,
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                                                                 11                       SOFTWARE OR GOODS, AND IN NO EVENT SHALL AT&T BE
                                                                 12                       LIABLE, WHETHER OR NOT DUE TO ITS OWN NEGLIGENCE,
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                                                                 13                       for any:
                                                                 14                       a. act or omission of a third party;
                                                                 15                       b. mistakes, omissions, interruptions, errors, failures to transmit,
                                                                 16                       delays, or defects in the Services or Software provided by or through
                                                                 17                       us;
                                                                 18                       c. damages or injury caused by the use of Services, Software, or
                                                                 19                       Device, including use in a vehicle . . ..
                                                                 20    (Capitalization in original; emphasis added in bold and italics.)
                                                                 21                       119. The Exculpatory Provision renders the entire Agreement
                                                                 22    unenforceable on public policy grounds under Cal. Civil Code §§ 1668 and 1670.5
                                                                 23    because it purports to exempt AT&T from its gross negligence, statutory violations
                                                                 24    and willful behavior, including the egregious conduct alleged herein. The
                                                                 25    Exculpatory Provision is further against public policy because it purports to exempt
                                                                 26    AT&T from violation of statutory obligations, including the obligation to maintain
                                                                 27    the confidentiality and security of its customers’ private and personal information
                                                                 28    under Section 222 of the FCA, the FCC Consent Degree, and numerous provisions
                                                                      83764-00002/3747555.3                             45
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 46 of 72 Page ID #:828



                                                                  1    of California State law, including California unfair competition law, the Consumer
                                                                  2    Legal Remedies Act, and the California Customer Records Act. Thus, even where,
                                                                  3    as here, AT&T willfully violates its statutory duties under the FCA and the Consent
                                                                  4    Decree, not to mention its promises in its Privacy Policy and the COBC, a customer
                                                                  5    is prevented by the Exculpatory Provision from bringing a claim for negligent or
                                                                  6    willful disclosure of the customer’s Personal Information, including CPNI, because
                                                                  7    such claim seeks redress for “damages or injury caused by the use of Services,
                                                                  8    Software, or Device . . .” and is waived by the Exculpatory Provision.
                                                                  9                       120. AT&T also seeks in the contract to have customers waive any
                                                                 10    damages, except for providing a “credit equal to a pro-rata adjustment of the
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                                                                 11    monthly Services fee for the time period your Services was unavailable, not to
                                                                 12    exceed the monthly Service fee” when a customer’s services are interrupted.
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                                                                 13                       121. Section 4.1 of the Agreement (“Damages Restriction”) is also
                                                                 14    void under Cal. Civ. Code §§ 1668 and 1670.5 because it purports to exempt
                                                                 15    AT&T for all other damages:
                                                                 16                       Unless prohibited by law, AT&T isn’t liable for any indirect, special,
                                                                 17                       punitive, incidental or consequential losses or damages you or any
                                                                 18                       third party may suffer by use of, or inability to use, Services, Software
                                                                 19                       or Devices provided by or through AT&T, including loss of business
                                                                 20                       or goodwill, revenue or profits, or claims of personal injuries.
                                                                 21                       122. The Exculpatory Provision is invalid under Civil Code § 1670.5
                                                                 22    because it allocates all the risks to the consumer with AT&T disclaiming any
                                                                 23    damages for its own conduct—even fraud, gross negligence, and statutory
                                                                 24    violations, including those governed by the FCA. Thus, even if AT&T deliberately
                                                                 25    handed over a customer’s CPNI to hackers in violation of Section 222 of the FCA,
                                                                 26    a customer would not be entitled to the full range of damages afforded by that
                                                                 27    statute under the Damages Restriction.
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                                                                      83764-00002/3747555.3                            46
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 47 of 72 Page ID #:829



                                                                  1                       123. The Damages Restriction included in a contract of adhesion as
                                                                  2    to which AT&T’s users, including Mr. Terpin, have no bargaining authority, is void
                                                                  3    because it is plainly unconscionable and against public policy. The Damages
                                                                  4    Restriction is contained in a lengthy form contract drafted by a domineering
                                                                  5    telecommunication provider with vast assets in a far superior bargaining position to
                                                                  6    the wireless user. Indeed, it is no exaggeration to say that the consumer has no
                                                                  7    bargaining power as regards AT&T, particularly as to the Damages Restriction and
                                                                  8    other draconian provisions in the Agreement. Because the Damages Restriction is
                                                                  9    found in a document posted on a website that, by fiat, is automatically made
                                                                 10    applicable to customers, customers may not even be aware that they have virtually
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                                                                 11    no redress against AT&T, unless they diligently monitor changes in the website.
                                                                 12    Moreover, the Damages Restriction is contained in a complex and lengthy contract
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                                                                 13    that provides essential wireless services—without which most customers have no
                                                                 14    means of communication (including for emergency services), let alone essential
                                                                 15    computing, geolocation, texting, research or other services.
                                                                 16                       124. The Damages Restriction is also substantively unconscionable
                                                                 17    because it allocates risks in an objectively unreasonable manner. See Armendariz v.
                                                                 18    Foundation Health Psychcare Services, Inc., 24 Cal. 4th 83, 113-114 (2000). The
                                                                 19    allocation of risks under the Agreement is objectively unreasonable because
                                                                 20    AT&T—a telecommunications behemoth with billions of dollars of assets and tens
                                                                 21    of millions of customers—takes upon itself virtually no liability (other than
                                                                 22    minimal recompense for interrupted services) and purports to exempt itself from
                                                                 23    virtually all damages, including those arising out of its own deliberate, grossly
                                                                 24    negligent, or fraudulent acts.
                                                                 25                       125. The Agreement is further unenforceable because customers are
                                                                 26    purportedly required to indemnify AT&T for all claims arising out of the services
                                                                 27    provided by AT&T, including claims that arise due to AT&T’s negligence, gross
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                                                                      83764-00002/3747555.3                          47
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 48 of 72 Page ID #:830



                                                                  1    negligence, deliberate conduct, or statutory violations. The indemnity provision in
                                                                  2    Paragraph 4.1 of the Agreement (“Indemnity”) states:
                                                                  3                       To the full extent allowed by law, you hereby release, indemnify, and
                                                                  4                       hold AT&T and its officers, directors, employees and agents harmless
                                                                  5                       from and against any and all claims of any person or entity for
                                                                  6                       damages of any nature arising in any way from or relating to, directly
                                                                  7                       or indirectly, service provided by AT&T or any person’s use thereof
                                                                  8                       (including, but not limited to vehicular damage and personal injury),
                                                                  9                       INCLUDING CLAIMS ARISING IN WHOLE OR IN PART FROM
                                                                 10                       THE ALLEGED NEGLIGENCE OF AT&T, or any violation by you of
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                                                                 11                       this Agreement.
                                                                 12    (Capitalization in original; emphasis added.)
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                                                                 13                       126. Read literally, the Indemnity requires a consumer, such as Mr.
                                                                 14    Terpin, to hold AT&T harmless for AT&T’s own negligence, deliberate behavior,
                                                                 15    gross negligence, statutory violations (including disclosure of CPNI under the
                                                                 16    FCA), or fraud if the conduct is related “directly or indirectly” to any “service
                                                                 17    provided by AT&T.” On its face, the indemnity provision in a contract of adhesion
                                                                 18    renders the entire Agreement unconscionable and unenforceable because if defeats
                                                                 19    the entire purpose of the contract by making it impossible for consumers to bring
                                                                 20    claims against AT&T for the entire range of statutory rights to which a consumer,
                                                                 21    such as Mr. Terpin, is entitled. Indeed, the Indemnity would totally obviate
                                                                 22    AT&T’s commitment to privacy in its Privacy Policy as well as its legal obligations
                                                                 23    under the FCA, the CPNI Rules, and the Consent Decree.
                                                                 24                       127. Because the entire Agreement is unenforceable because the
                                                                 25    central purpose of the Agreement is “tainted with illegality . . . [so that] the contract
                                                                 26    as a whole cannot be enforced,” the arbitration provision in Paragraph 2.2 of the
                                                                 27    Agreement (“Arbitration Provision”) is also unenforceable. See, Armendariz, 24
                                                                 28    Cal. 4th at 89-90.
                                                                      83764-00002/3747555.3                           48
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 49 of 72 Page ID #:831



                                                                  1                       128. The Arbitration Provision would require Mr. Terpin to arbitrate
                                                                  2    his claims “without affording the full range of statutory remedies, including
                                                                  3    punitive damages and attorney fees” that are available to him under the claims
                                                                  4    alleged herein. Armendariz, 24 Cal. 4th at 103 (damages limitation unlawful if
                                                                  5    applied to statutory claims). For example, Mr. Terpin, if required to arbitrate this
                                                                  6    claim, would be forced by the Damages Limitation to forego his entitlement to
                                                                  7    punitive damages for AT&T’s fraud and negligence. Moreover, the Arbitration
                                                                  8    Provision would require Mr. Terpin to forego the full range of damages to which he
                                                                  9    is entitled under his Second Claim for Relief under the Federal Communications
                                                                 10    Act § 222. These defects render not only the Arbitration Provision, but also the
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                                                                 11    entire Agreement, unenforceable.
                                                                 12                       129. Because the defenses raised by Mr. Terpin as to the
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                                                                 13    unconscionability of the Agreement are “enforced evenhandedly” and do not
                                                                 14    “interfere[] with the fundamental attributes of arbitration,” they do not run afoul of
                                                                 15    AT&T Mobility LLC v. Concepcion, 563 U.S. 333 (2010). The Court’s decision in
                                                                 16    Concepcion did not abrogate the savings clause of the FAA that provides that
                                                                 17    arbitration agreements may be declared unenforceable “upon such grounds as exist
                                                                 18    at law or in equity for the revocation of any contract,” including “generally
                                                                 19    applicable contract defenses, such as fraud, duress, or unconscionability.”
                                                                 20    Concepcion at 339, quoting 9 U.S.C. § 2 and Doctors Associates, Inc. v. Casarotto,
                                                                 21    517 U.S. 681, 687 (1996). For the reasons alleged in this claim, such defenses
                                                                 22    apply squarely to the Agreement.
                                                                 23                       130. There is an actionable and justiciable controversy between Mr.
                                                                 24    Terpin and AT&T in that Mr. Terpin contends that the Agreement, including the
                                                                 25    Exculpatory Provision, Damages Restriction, Indemnity and Arbitration Provision,
                                                                 26    is unenforceable in its entirety because it is unconscionable and void against public
                                                                 27    policy since it prevents consumers, such as Mr. Terpin, from obtaining redress
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 50 of 72 Page ID #:832



                                                                  1    against AT&T even for deliberate acts in violation of its legal duties. AT&T
                                                                  2    undoubtedly disagrees.
                                                                  3                       131. A judicial declaration of the enforceability of the Agreement,
                                                                  4    including the Exculpatory Provision, Damages Restriction, Indemnity and
                                                                  5    Arbitration Provision and all other provisions of the Agreement, is necessary and
                                                                  6    appropriate.
                                                                  7                       132. Mr. Terpin seeks a judgment declaring that the Agreement in its
                                                                  8    entirety is unenforceable as unconscionable and against public or, in the alternative
                                                                  9    that (a) the Exculpatory Provision is unenforceable as against Mr. Terpin; (b) the
                                                                 10    Damages Restriction is unenforceable against Mr. Terpin; (c) the Indemnity is
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                                                                 11    unenforceable as against Mr. Terpin; and (d) the Arbitration Provision is
                                                                 12    unenforceable as against Mr. Terpin
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                                                                 13                                    SECOND CLAIM FOR RELIEF
                                                                 14      (Unauthorized Disclosure of Customer Confidential Proprietary Information
                                                                 15                                  and Proprietary Network Information
                                                                 16                           (Federal Communications Act, 47 U.S.C. §§ 206, 222))
                                                                 17                       133. Plaintiff realleges the allegations in Paragraphs 1-132 as if fully
                                                                 18    set forth herein.
                                                                 19                       134. AT&T is a “common carrier” engaging in interstate commerce
                                                                 20    by wire regulated by the Federal Communications Act (“FCA”) and subject to the
                                                                 21    requirements, inter alia, of sections 206 and 222 of the FCA.
                                                                 22                       135. Under section 206 of the FCA, 47 U.S.C. § 206, “[i]n case any
                                                                 23    common carriers shall do, or cause or permit it to be done, any act, matter, or thing
                                                                 24    in this chapter prohibited or declared to be unlawful, or shall omit to do any act,
                                                                 25    matter, or thing in this chapter required to be done, such common carrier shall be
                                                                 26    liable to the person or persons injured thereby for the full amount of damages
                                                                 27    sustained in consequence of any such violation of the provisions of this chapter,
                                                                 28    together with a reasonable counsel or attorney’s fee, to be fixed by the court in
                                                                      83764-00002/3747555.3                            50
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 51 of 72 Page ID #:833



                                                                  1    every case of recovery, which attorney’s fee shall be taxed and collected as part of
                                                                  2    the costs in the case.”
                                                                  3                       136. Section 222(a) of the FCA, 47 U.S.C. § 222(a), requires every
                                                                  4    telecommunications carrier to protect, among other things, the confidentiality of
                                                                  5    proprietary information of, and relating to, customers (“CPI”).
                                                                  6                       137. Section 222(c)(1) of the FCA, 27 U.S.C. § 222(c)(1) further
                                                                  7    requires that, “[e]xcept as required by law or with the approval of the customer, a
                                                                  8    telecommunications carrier that receives or obtains customer proprietary
                                                                  9    information by virtue of its provision of a telecommunications service shall only
                                                                 10    use, disclose, or permit access to customer proprietary network information
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                                                                 11    [‘CPNI’] in its provision of (A) telecommunications services from which such
                                                                 12    information is derived, or (B) services necessary to or used in the provision of such
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                                                                 13    telecommunication services. . ..”
                                                                 14                       138. The information disclosed to hackers by AT&T in the January 7,
                                                                 15    2018 SIM swap fraud transferring Mr. Terpin’s telephone number, was CPI and
                                                                 16    CPNI under Section 222 of the FCA.
                                                                 17                       139. AT&T failed to protect the confidentiality of Mr. Terpin’s CPI
                                                                 18    and CPNI, including his wireless telephone number, account information, and his
                                                                 19    private communications, by divulging that information to hackers in the January 7,
                                                                 20    2018 SIM swap fraud. Through its negligence, gross negligence and deliberate
                                                                 21    acts, including inexplicable failures to follow its own security procedures, supervise
                                                                 22    its employees, the CPNI Regulations, the terms of the Consent Decree, the
                                                                 23    warnings of the Pretexting Order, its Privacy Policy and the COBC, and by
                                                                 24    allowing its employees to bypass such procedures, AT&T permitted hackers to
                                                                 25    access Mr. Terpin’s telephone number, telephone calls, and text messages, which
                                                                 26    gave them access to 2FA messages, which they used to reset the passwords on Mr.
                                                                 27    Terpin’s accounts by use of one or more 2FA messages to gain access to files on
                                                                 28    those accounts that contained the confidential information necessary to access Mr.
                                                                      83764-00002/3747555.3                          51
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 52 of 72 Page ID #:834



                                                                  1    Terpin’s wallets. Once they had access to the wallets, they transferred the
                                                                  2    cryptocurrency into wallets and/or accounts under their control which resulted in a
                                                                  3    loss to Mr. Terpin of nearly $24,000,000 worth of his cryptocurrency.
                                                                  4                       140. As a direct consequence of AT&T’s violations of the FCA, Mr.
                                                                  5    Terpin has been damaged by loss of nearly $24,000,000 worth in cryptocurrency
                                                                  6    which AT&T allowed to fall into the hands of thieves, and for other damages in an
                                                                  7    amount to be proven at trial. The connection between AT&T, the SIM swap and
                                                                  8    the loss of Mr. Terpin’s cryptocurrency is alleged herein, inter alia, in Paragraphs
                                                                  9    12-13, 59-82, and 91-92.
                                                                 10                       141. Mr. Terpin is also entitled to his attorney’s fees under the FCA
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                                                                 11    in bringing this action against AT&T for its gross negligence and fraudulent
                                                                 12    misrepresentation as to the security that it provides for customer accounts as
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                                                                 13    required by the FCA, the CPNI Regulation, and the Consent Decree.
                                                                 14                                   THIRD CLAIM FOR RELIEF
                                                                 15                      (Deceit by Concealment—Cal. Civ. Code §§ 1709, 1710)
                                                                 16                       142. Mr. Terpin realleges the allegations of Paragraphs 1-141 as if
                                                                 17    fully set forth herein.
                                                                 18                       143. As alleged above, AT&T, including Chief Security Officer Bill
                                                                 19    O’Hern and Chief Compliance Officer David S. Huntley, who are respectively in
                                                                 20    charge of AT&T’s security and privacy protections, knew that its data security
                                                                 21    measures were grossly inadequate, that its employees and agents could readily
                                                                 22    bypass the procedures, that its employees actively cooperated with hackers and
                                                                 23    thieves, and that it was incapable of living up to its commitments to consumers,
                                                                 24    including to Mr. Terpin, under state and federal law, as well as under its own
                                                                 25    Privacy Policy, to protect his Personal Information, including CPI and CPNI.
                                                                 26    Nonetheless, to induce Mr. Terpin to remain as an AT&T customer after the June
                                                                 27    11, 2017 hack, AT&T promised Mr. Terpin that it would implement AT&T’s
                                                                 28    additional levels of security requiring a six-digit passcode to make modifications to
                                                                      83764-00002/3747555.3                           52
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 53 of 72 Page ID #:835



                                                                  1    his account. Because of their responsibilities at AT&T, Mr. O’Hern and Mr.
                                                                  2    Huntley were aware of this program and of its inadequacies. In contrast, Mr.
                                                                  3    Terpin took what he was told about this AT&T program at face value and was
                                                                  4    unaware that AT&T’s security measures were not state of the art. In contrast to
                                                                  5    other carriers, such as T-Mobile, AT&T did not provide a SIM lockdown with its
                                                                  6    higher level of security.
                                                                  7                       144. To reiterate, Mr. Terpin alleges on information and belief that
                                                                  8    AT&T, authorized by Mr. O’Hern and Mr. Huntley, made the following specific
                                                                  9    concealments of material facts: (1) In June 2017, after the initial SIM swap, AT&T
                                                                 10    representatives encouraged Mr. Terpin to adopt additional security measures
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                                                                 11    (adding a six digit code) without telling Mr. Terpin that such security measures
                                                                 12    could readily be evaded or bypassed by AT&T employees acting in concert with
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                                                                 13    individuals perpetrating SIM swap fraud; (2) at all times herein relevant prior to the
                                                                 14    second SIM swap in January 2018, AT&T concealed the fact that its employees
                                                                 15    frequently acted in concert with individuals perpetrating SIM swap fraud to provide
                                                                 16    such individuals with personal information about its mobile users; (3) at all times
                                                                 17    herein relevant prior to the second SIM swap in January 2018, AT&T concealed the
                                                                 18    fact that its employees frequently acted in concert with individuals perpetrating
                                                                 19    SIM swap fraud to provide such individuals with direct access to their customers’
                                                                 20    accounts, which enabled such individuals to intercept 2FA messages to customers;
                                                                 21    and (4) because of the inadequacies of AT&T’s security measures and the active
                                                                 22    participation of its employees in SIM swaps that AT&T’s promises in its Privacy
                                                                 23    Policy had no value.
                                                                 24                       145. As further alleged above, AT&T, including Mr. O’Hern and Mr.
                                                                 25    Huntley, knew or should have known from prior incidents and contacts with law
                                                                 26    enforcement that its system was subject to SIM swap fraud, that its employees
                                                                 27    cooperated with hackers in such fraud, that such fraud was prevalent in the
                                                                 28    cryptocurrency community, and that its security measures were ineffective in
                                                                      83764-00002/3747555.3                           53
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 54 of 72 Page ID #:836



                                                                  1    preventing the fraud. Mr. O’Hern should have been well aware of this because he
                                                                  2    is in charge of security and AT&T and Mr. Huntley should have known because he
                                                                  3    is in charge of insuring that AT&T protects the privacy of its customers.
                                                                  4                       146. In response to these facts, AT&T chose to do nothing to protect
                                                                  5    Mr. Terpin and instead made false promises to him to induce him to remain as an
                                                                  6    AT&T customer.
                                                                  7                       147. Although AT&T stated in the Privacy Policy that it could not
                                                                  8    “guarantee” that customers’ “Personal Information will never be disclosed in a
                                                                  9    manner inconsistent with [AT&T’s] Policy . . ,” it knew that its low level
                                                                 10    employees and contractors could readily sidestep AT&T security protections or that
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                                                                 11    such protections were non-existent. Such employees were also susceptible to
                                                                 12    relatively small bribes from SIM swappers. Although Mr. Terpin understands that
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                                                                 13    no security measure is perfect, he reasonably relied on AT&T’s promises in the
                                                                 14    privacy policy that it would protect his personal information against obvious and
                                                                 15    easily avoidable security flaws. Mr. Terpin’s expectations were reasonable given
                                                                 16    AT&T’s vast resources. Mr. Terpin is not alleging that AT&T erred by not having
                                                                 17    perfect security, but by not having any security worth the name.
                                                                 18                       148. AT&T representatives also specifically promised Mr. Terpin
                                                                 19    additional protection after the initial June 2017 SIM swap. Mr. Terpin accepted
                                                                 20    their promises at face value. Mr. Terpin had no reason to doubt that these security
                                                                 21    measures would be effective and had no knowledge at that time that an AT&T
                                                                 22    employee had been involved in his initial SIM swap.
                                                                 23                       149. At all times, including at the time it promised Mr. Terpin
                                                                 24    additional security after his initial June 2017 SIM swap, AT&T had an obligation to
                                                                 25    disclose to Mr. Terpin that his Personal Information, including CPI and CPNI, was
                                                                 26    readily obtained by hackers and that its own employees handed such information to
                                                                 27    hackers, and yet did not implement measures to protect Mr. Terpin or willfully
                                                                 28    failed to adhere to any measures that were in place, including its so-called “higher
                                                                      83764-00002/3747555.3                           54
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 55 of 72 Page ID #:837



                                                                  1    security level” for high profile or celebrity accounts and its required security and
                                                                  2    training measures under the Consent Decree. AT&T’s promises of security, which
                                                                  3    come from officers such as Bill O’Hern and David S. Huntley, who are in charge of
                                                                  4    security and privacy at the company, were false and it knew at the time it made
                                                                  5    such promises that they were ineffective and could be readily overridden by its
                                                                  6    employees. As AT&T’s officers knew, AT&T’s so-called security system more
                                                                  7    resembles a thin slice of swiss cheese than a sophisticated network of “heightened
                                                                  8    security.”
                                                                  9                       150. AT&T did not disclose these things to Mr. Terpin and willfully
                                                                 10    deceived Mr. Terpin by concealing the true facts concerning its data security, which
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                                                                 11    AT&T was legally obligated and had a duty to disclose. It did so in order to induce
                                                                 12    Mr. Terpin to remain as its customer. It is far easier to penetrate AT&T’s system
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                                                                 13    than obtaining a new password from Walmart.
                                                                 14                       151. Had AT&T disclosed the true facts about its dangerously poor
                                                                 15    data security practices, its inadequate supervision and training of its employees, and
                                                                 16    the fact that its employees can readily bypass the additional security measures that
                                                                 17    it encouraged Mr. Terpin to place on his account, Mr. Terpin would have taken
                                                                 18    further measures to protect himself and would have ceased being a customer of
                                                                 19    AT&T. Mr. Terpin justifiably relied on AT&T’s statements, including statements
                                                                 20    after the June 11, 2017 hack regarding the effectiveness of the additional security it
                                                                 21    encouraged for his account, and further relied on AT&T to provide accurate and
                                                                 22    complete information about its data security in continuing to be AT&T’s customer.
                                                                 23                       152. Rather than disclosing the inadequacies in its security, including
                                                                 24    the additional security it encouraged Mr. Terpin to place on his account, AT&T
                                                                 25    willfully suppressed any information relating to such inadequacies.
                                                                 26                       153. AT&T’s actions are “deceit” under Cal. Civ. Code § 1710 in
                                                                 27    that they are the suppression of a fact by one who is bound to disclose it, or who
                                                                 28
                                                                      83764-00002/3747555.3                           55
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 56 of 72 Page ID #:838



                                                                  1    gives information of other facts which are likely to mislead for want of
                                                                  2    communication of that fact.
                                                                  3                       154. Because of the deceit by AT&T, it is liable under Cal. Civ. Code
                                                                  4    § 1709 for “any damage which [Mr. Terpin] thereby suffers.”
                                                                  5                       155. Because of this deceit by Defendants, Mr. Terpin’s Personal
                                                                  6    Information, including his CPI and CPNI, as described above, inter alia, in
                                                                  7    Paragraphs 91-92 was compromised by hackers and he was deprived of nearly $24
                                                                  8    million worth of cryptocurrency. The connection between AT&T, the SIM swap
                                                                  9    and the loss of Mr. Terpin’s cryptocurrency is alleged herein, inter alia, in
                                                                 10    Paragraphs 12-13, 59-82, and 91-92. In addition, Mr. Terpin’s Personal
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                                                                 11    Information is now easily available to hackers, including through the Dark Web.
                                                                 12    Mr. Terpin is further damaged to the extent of the amounts that he has paid AT&T
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                                                                 13    for wireless services, because those services were either worth nothing or worth less
                                                                 14    than was paid for them because of lack of security. Mr. Terpin has also suffered
                                                                 15    substantial out-of-pocket costs because of AT&T’s inadequate security.
                                                                 16                       156. Because AT&T’s deceit is fraud under Civil Code § 3294(c)(3),
                                                                 17    and AT&T’s conduct was done with malice, fraud and oppression, Mr. Terpin is
                                                                 18    entitled to punitive damages under Civil Code § 3294(a). Mr. Terpin further alleges
                                                                 19    on information and belief that Bill O’Hern, who has been in charge of security at
                                                                 20    AT&T since 2016, and David S. Huntley, who has been in charge of privacy, had
                                                                 21    advance knowledge of the inadequacies of AT&T’s security, the participation of
                                                                 22    AT&T employees in evading or bypassing security, and they committed or ratified
                                                                 23    the acts of oppression, fraud or malice alleged herein.
                                                                 24                                  FOURTH CLAIM FOR RELIEF
                                                                 25                                         (Misrepresentation)
                                                                 26                       157. Mr. Terpin realleges Paragraphs 1 through 156 as if fully set
                                                                 27    forth herein.
                                                                 28
                                                                      83764-00002/3747555.3                          56
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 57 of 72 Page ID #:839



                                                                  1                       158. As alleged herein, inter alia, in Paragraphs 104-110, and to the
                                                                  2    extent determined to be applicable to this claim, Mr. Terpin and AT&T have a
                                                                  3    special relationship as such term is used in J’Aire.
                                                                  4                       159. AT&T made numerous representations and false promises in its
                                                                  5    Privacy Policy and COBC as well as in its advertising, that it would maintain the
                                                                  6    security of its customers’ personal information, including Mr. Terpin’s Personal
                                                                  7    Information. Separate from the documents, an AT&T employee made specific
                                                                  8    promises to Mr. Terpin after the June 11, 2017 hack regarding the security
                                                                  9    protection that would be given to Mr. Terpin’s personal information by adding a
                                                                 10    six-digit security code on the account. The AT&T employee did so in order to
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                                                                 11    persuade Mr. Terpin not to cancel his AT&T service.
                                                                 12                       160. AT&T did not intend to perform either its promises in the
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                                                                 13    Privacy Policy or after the June 11, 2017 hack because it knew that its security
                                                                 14    protections, including the six-digit security code, were ineffectual and could easily
                                                                 15    be evaded or bypassed by its employees. Such representations and promises were
                                                                 16    also false because AT&T was using outdated security procedures and failed to
                                                                 17    disclose that it did not adhere to its own standards, including the heightened
                                                                 18    security standards that it implemented for Mr. Terpin after the June 11, 2017 hack,
                                                                 19    the CPNI Rules or the procedures mandated by the Consent Decree. AT&T further
                                                                 20    knew that it did not have in place state-of-the-art security protections, such as a
                                                                 21    SIM lock out. Mr. Terpin further alleges on information and belief that AT&T
                                                                 22    decided not to implement technological measures to prevent SIM swapping because
                                                                 23    it did not want to expend the money for such measures and did not wish to hamper
                                                                 24    the lucrative practice of having mobile users swap or upgrade their devices.
                                                                 25                       161. AT&T’s misrepresentations and false promises, including those
                                                                 26    made after the June 11, 2017 hack, were material to Mr. Terpin who reasonably
                                                                 27    relied upon the representations and promises. Specifically, Mr. Terpin relied on
                                                                 28    AT&T’s false promise regarding the effectiveness of the additional six-digit code
                                                                      83764-00002/3747555.3                           57
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 58 of 72 Page ID #:840



                                                                  1    protection on his account to continue as an AT&T customer. Mr. Terpin would not
                                                                  2    have agreed to continue to use and pay for AT&T’s services if he had known that
                                                                  3    the additional security protection was ineffective and that AT&T’s other security
                                                                  4    measures were not as secure as represented by AT&T and would not have lost
                                                                  5    nearly $24 million.
                                                                  6                       162. AT&T intended that Mr. Terpin rely on their representations and
                                                                  7    promises, including those made after the June 11, 2017 hack, as it knew that Mr.
                                                                  8    Terpin would not entrust his Personal Information to unreasonable security risks,
                                                                  9    particularly because Mr. Terpin had been subject to the June 11, 2017 hack. In
                                                                 10    reliance upon AT&T’s representations and promises, Mr. Terpin continued to
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                                                                 11    maintain a wireless account with AT&T and to use his AT&T phone number for
                                                                 12    verification and other purposes.
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                                                                 13                       163. As a direct and proximate result of AT&T’s wrongful actions,
                                                                 14    Mr. Terpin has been damaged by paying monthly fees to AT&T and having thieves
                                                                 15    steal nearly $24 million worth of cryptocurrency through the January 7, 2018 SIM
                                                                 16    swap fraud. The connection between AT&T, the SIM swap and the loss of Mr.
                                                                 17    Terpin’s cryptocurrency is alleged herein, inter alia, in Paragraphs 12-13, 59-82,
                                                                 18    and 91-92.
                                                                 19                       164. AT&T’s misconduct is fraud under Civil Code § 3294(c)(3) in
                                                                 20    that it was deceit or concealment of a material fact known to AT&T conducted with
                                                                 21    the intent on the part of AT&T of depriving Mr. Terpin of legal rights or otherwise
                                                                 22    causing injury. AT&T’s conduct was done with malice, fraud or oppression under
                                                                 23    Civil Code § 3294(c)(1) and (2) and Mr. Terpin is entitled to punitive damages
                                                                 24    against AT&T under Civil Code §3294(a).
                                                                 25                       165. Mr. Terpin further alleges on information and belief that Bill
                                                                 26    O’Hern, who has been in charge of security at AT&T since 2016, and David S.
                                                                 27    Huntley, who has been in charge of privacy, had advance knowledge of the
                                                                 28    inadequacies of AT&T’s security, the participation of AT&T employees in evading
                                                                      83764-00002/3747555.3                           58
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 59 of 72 Page ID #:841



                                                                  1    or bypassing security, and they committed or ratified the acts of oppression, fraud
                                                                  2    or malice alleged herein.
                                                                  3
                                                                  4                                   FIFTH CLAIM FOR RELIEF
                                                                  5                                             (Negligence)
                                                                  6                       166. Plaintiff realleges the allegations in Paragraphs 1 through 165 as
                                                                  7    if fully set forth herein.
                                                                  8                       167. As alleged herein, inter alia, in Paragraphs 104=110, and to the
                                                                  9    extent determined to be applicable to this claim, AT&T and Mr. Terpin had a
                                                                 10    special relationship as such term is used in J’Aire.
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                                                                 11                       168. AT&T owed a duty to Mr. Terpin to exercise reasonable care in
                                                                 12    safeguarding and protecting his Personal Information, including CPI and CPNI, and
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                                                                 13    keeping it from being compromised, lost, stolen, misused and/or disclosed to
                                                                 14    unauthorized parties. This duty included, among other things, designing,
                                                                 15    maintaining, and testing its security systems to ensure that Mr. Terpin’s Personal
                                                                 16    Information, including CPI and CPNI, was adequately secured and protected.
                                                                 17    AT&T had a further duty to implement and adhere to the “high security” or
                                                                 18    “celebrity” protocol that it had promised Mr. Terpin that it would place on his
                                                                 19    account to protect his Personal Information and had a duty to adhere to the FCA,
                                                                 20    CPNI Rules, and the provisions of the Consent Decree.
                                                                 21                       169. AT&T knew that Mr. Terpin’s Personal Information, including
                                                                 22    CPI and CPNI, was confidential and sensitive. Indeed, AT&T acknowledged this
                                                                 23    in its Privacy Policy and in agreeing, at Mr. Terpin’s request, to place additional
                                                                 24    “high security” measures on Mr. Terpin’s account to prevent hackers from
                                                                 25    committing SIM swap fraud on Mr. Terpin. AT&T further promoted its “extra
                                                                 26    security” on its website. AT&T likewise knew that Mr. Terpin’s Personal
                                                                 27    Information was vulnerable to hacks by thieves and other criminals both because it
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                                                                      83764-00002/3747555.3                           59
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 60 of 72 Page ID #:842



                                                                  1    acknowledged such in its Privacy Policy and because it had been informed by Mr.
                                                                  2    Terpin of the June 11, 2017 hack. AT&T thus knew of the substantial harms that
                                                                  3    could occur to Mr. Terpin if it did not place adequate security on his Personal
                                                                  4    Information and did not follow its own “high security” measures for the account.
                                                                  5                       170. By being entrusted by Mr. Terpin to safeguard his Personal
                                                                  6    Information, including CPI and CPNI, AT&T had a special relationship with Mr.
                                                                  7    Terpin. Mr. Terpin signed up for AT&T’s wireless services and agreed to provide
                                                                  8    his Personal Information to AT&T with the understanding that AT&T would take
                                                                  9    appropriate measures to protect it. But AT&T did not protect Mr. Terpin’s
                                                                 10    Personal Information and violated his trust. AT&T knew its security was
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                                                                 11    inadequate in part due to the FCC investigation that led to the Consent Decree.
                                                                 12    AT&T is morally culpable, given prior security breaches involving its own
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                                                                 13    employees.
                                                                 14                       171. AT&T breached its duty to exercise reasonable care in
                                                                 15    safeguarding and protecting Mr. Terpin’s Personal Information, including CPI and
                                                                 16    CPNI, by failing to adopt, implement, and maintain adequate security measures to
                                                                 17    safeguard that information, including its duty under the FCA, CPNI Rules, the
                                                                 18    Consent Decree, and its own Privacy Policy.
                                                                 19                       172. AT&T’s failure to comply with federal and state requirements
                                                                 20    for security further evidences AT&T’s negligence in failing to exercise reasonable
                                                                 21    care in safeguarding and protecting Mr. Terpin’s Personal Information, including
                                                                 22    CPI and CPNI.
                                                                 23                       173. But for AT&T’s wrongful and negligent breach of its duties
                                                                 24    owed to Mr. Terpin, his Personal Information, including his CPI and CPNI, would
                                                                 25    not have been compromised, stolen, viewed, and used by unauthorized persons.
                                                                 26    AT&T’s negligence was a direct and legal cause of the theft of Mr. Terpin’s
                                                                 27    Personal Information and the legal cause of his resulting damages, including, but
                                                                 28    not limited to, the theft of nearly $24 million worth of cryptocurrency. The
                                                                      83764-00002/3747555.3                          60
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 61 of 72 Page ID #:843



                                                                  1    connection between AT&T, the SIM swap and the loss of Mr. Terpin’s
                                                                  2    cryptocurrency is alleged herein, inter alia, in Paragraphs 12-13, 59-82, and 91-92.
                                                                  3                       174. The injury and harm suffered by Mr. Terpin was the reasonably
                                                                  4    foreseeable result of AT&T’s failure to exercise reasonable care in safeguarding
                                                                  5    and protecting Mr. Terpin’s Personal Information, including his CPI and CPNI.
                                                                  6    The harm was additionally foreseeable in that AT&T was aware that Mr. Terpin
                                                                  7    was a holder and user of cryptocurrency and a potential victim of hacking following
                                                                  8    the June 11, 2017 hack.
                                                                  9                       175. AT&T’s misconduct as alleged herein is malice, fraud or
                                                                 10    oppression under Civil Code § 3294(c)(1) and (2) in that it was despicable conduct
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                                                                 11    carried on by AT&T with a willful and conscious disregard of the rights or safety of
                                                                 12    Mr. Terpin and despicable conduct that has subjected Mr. Terpin to cruel and unjust
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                                                                 13    hardship in conscious disregard of his rights. As a result, Mr. Terpin is entitled to
                                                                 14    punitive damages against AT&T under Civil Code § 3294(a).
                                                                 15                       176. Mr. Terpin further alleges on information and belief that Bill
                                                                 16    O’Hern, who has been in charge of security at AT&T since 2016, and David S.
                                                                 17    Huntley, who has been in charge of privacy, had advance knowledge of the
                                                                 18    inadequacies of AT&T’s security, the participation of AT&T employees in evading
                                                                 19    or bypassing security, and they committed or ratified the acts of oppression, fraud
                                                                 20    or malice alleged herein.
                                                                 21                                   SIXTH CLAIM FOR RELIEF
                                                                 22                                (Negligent Supervision and Training)
                                                                 23                       177. Mr. Terpin realleges the allegations of Paragraphs 1 through 176
                                                                 24    as if fully set forth herein.
                                                                 25                       178. As alleged herein, inter alia, in Paragraphs 104-110, and to the
                                                                 26    extent determined to be applicable to this claim, AT&T and Mr. Terpin had a
                                                                 27    special relationship as such term is used in J’Aire.
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                                                                      83764-00002/3747555.3                           61
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 62 of 72 Page ID #:844



                                                                  1                       179. AT&T owed a duty to Mr. Terpin to exercise reasonable care in
                                                                  2    supervising and training its employees to safeguard and protect his Personal
                                                                  3    Information, including CPI and CPNI, and to keep it from being compromised, lost,
                                                                  4    stolen, misused and/or disclosed to unauthorized parties. This duty included
                                                                  5    AT&T’s instructing its employees to adhere to the “high security” or “extra
                                                                  6    security” protocols that AT&T had promised Mr. Terpin it would place on his
                                                                  7    account to protect his Personal Information.
                                                                  8                       180. AT&T was aware of the ability of its employees to bypass its
                                                                  9    security measures and the fact that its employees actively participated in fraud
                                                                 10    involving its customers, including pretexting and SIM card swap fraud, by
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                                                                 11    bypassing such security measures.
                                                                 12                       181. AT&T knew that Mr. Terpin’s Personal Information, including
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                                                                 13    CPI and CPNI, was confidential and sensitive. AT&T further knew that Mr.
                                                                 14    Terpin’s Personal Information was vulnerable to hacks and SIM swap fraud by
                                                                 15    thieves and other criminals because it had been informed by Mr. Terpin of the
                                                                 16    June 11, 2017 hack.
                                                                 17                       182. By being entrusted by Mr. Terpin to safeguard his Personal
                                                                 18    Information, including CPI and CPNI, AT&T had a special relationship with Mr.
                                                                 19    Terpin. Mr. Terpin signed up for AT&T’s wireless services and agreed to provide
                                                                 20    his Personal Information to AT&T with the understanding that AT&T’s employees
                                                                 21    would take appropriate measures to protect it. AT&T also made promises in the
                                                                 22    COBC that its employees would respect its customers’ privacy and was further
                                                                 23    required by the Consent Decree to supervise and train its employees to adhere to its
                                                                 24    legal obligations to protect their Personal Information.
                                                                 25                       183. AT&T breached its duty to supervise and train its employees to
                                                                 26    safeguard and protect Mr. Terpin’s Personal Information, including CPI and CPNI,
                                                                 27    by not requiring them to adhere to its obligations under the CPNI Rules, the
                                                                 28    Consent Decree and other legal provisions. On January 7, 2018, AT&T’s
                                                                      83764-00002/3747555.3                          62
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 63 of 72 Page ID #:845



                                                                  1    employees facilitated SIM swap fraud on Mr. Terpin by not requiring individuals
                                                                  2    requesting Mr. Terpin’s telephone number to present valid identification. AT&T
                                                                  3    employees also failed to follow AT&T’s “higher” or “extra” security by not
                                                                  4    requiring the individual requesting Mr. Terpin’s telephone number to provide the
                                                                  5    secret six-digit code that AT&T had given Mr. Terpin to prevent precisely such
                                                                  6    fraud.
                                                                  7                       184. AT&T knew its supervision and monitoring of its employees
                                                                  8    was inadequate through: a) the FCC investigation that led to the Consent Decree
                                                                  9    mandating measures to improve such training and monitoring; and b) its knowledge
                                                                 10    from prior incidents that its employees cooperated with hackers in SIM swap fraud.
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                                                                 11    AT&T is morally culpable, given prior security breaches involving its own
                                                                 12    employees.
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                                                                 13                       185. AT&T breached its duty to exercise reasonable care in
                                                                 14    supervising and monitoring its employees to protect Mr. Terpin’s Personal
                                                                 15    Information, including CPI and CPNI.
                                                                 16                       186. AT&T’s failure to comply with the Consent Decree and to
                                                                 17    follow the requirements of the FCA and CPNI Rules further evidence AT&T’s
                                                                 18    negligence in adequately supervising and monitoring its employees so that they
                                                                 19    would safeguard and protect Mr. Terpin’s Personal Information, including CPI and
                                                                 20    CPNI.
                                                                 21                       187. But for AT&T’s wrongful and negligent breach of its duties to
                                                                 22    supervise and monitor its employees, Mr. Terpin’s CPI and CPNI would not have
                                                                 23    been disclosed to unauthorized individuals through SIM swap fraud. The
                                                                 24    connection between AT&T, the SIM swap and the loss of Mr. Terpin’s
                                                                 25    cryptocurrency is alleged herein, inter alia, in Paragraphs 12-13, 59-82, and 91-92.
                                                                 26    AT&T’s negligence was a direct and legal cause of the theft of Mr. Terpin’s
                                                                 27    Personal Information and the legal cause of his resulting damages, including, but
                                                                 28    not limited to, the theft of nearly $24 million worth of cryptocurrency.
                                                                      83764-00002/3747555.3                          63
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 64 of 72 Page ID #:846



                                                                  1                       188. The injury and harm suffered by Mr. Terpin was the reasonably
                                                                  2    foreseeable result of AT&T’s failure to supervise and monitor its employees in
                                                                  3    safeguarding and protecting Mr. Terpin’s Personal Information, including his CPI
                                                                  4    and CPNI.
                                                                  5                       189. AT&T’s misconduct as alleged here is done with malice, fraud
                                                                  6    and oppression under Civil Code § 3294(c)(1) and (2) in that it was despicable
                                                                  7    conduct carried on by AT&T with a willful and conscious disregard of the rights or
                                                                  8    safety of Mr. Terpin and despicable conduct that has subjected Mr. Terpin to cruel
                                                                  9    and unjust hardship in conscious disregard of his rights. As a result, Mr. Terpin is
                                                                 10    entitled to punitive damages against AT&T under Civil Code § 3294(a).
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                                                                 11                       190. Mr. Terpin further alleges on information and belief that Bill
                                                                 12    O’Hern, who has been in charge of security at AT&T since 2016, and David S.
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                                                                 13    Huntley, who has been in charge of privacy, had advance knowledge of the
                                                                 14    inadequacies of AT&T’s security, the participation of AT&T employees in evading
                                                                 15    or bypassing security, and they committed or ratified the acts of oppression, fraud
                                                                 16    or malice alleged herein.
                                                                 17                                 SEVENTH CLAIM FOR RELIEF
                                                                 18                                          (Negligent Hiring)
                                                                 19                       191. Mr. Terpin realleges the allegations in Paragraphs 1 through 190
                                                                 20    as if fully set forth herein.
                                                                 21                       192. As alleged herein, inter alia, in Paragraphs 104-110, and to the
                                                                 22    extent determined to be applicable to this claim, AT&T and Mr. Terpin had a
                                                                 23    special relationship as such term is used in J’Aire.
                                                                 24                       193. AT&T owed a duty to Mr. Terpin to exercise reasonable care in
                                                                 25    hiring competent, honest, and ethical employees to safeguard and protect his
                                                                 26    Personal Information, including CPI and CPNI, to keep it from being compromised,
                                                                 27    lost, stole, misused and/or disclosed to unauthorized parties. AT&T also owed a
                                                                 28
                                                                      83764-00002/3747555.3                           64
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 65 of 72 Page ID #:847



                                                                  1    duty to exercise reasonable care in the operation of AT&T stores, including by third
                                                                  2    parties, and their hiring of employees for those AT&T stores.
                                                                  3                       194. AT&T knew that Mr. Terpin’s Personal Information, including
                                                                  4    CPI and CPNI, was confidential and sensitive. AT&T further knew that Mr.
                                                                  5    Terpin’s Personal Information was vulnerable to hacks and SIM swap fraud by
                                                                  6    thieves and other criminals because it had been informed by Mr. Terpin of the June
                                                                  7    11, 2017 hack. AT&T further knew from the investigation that led to the Consent
                                                                  8    Decree that its employees had cooperated with hackers and thieves by turning over
                                                                  9    to them the CPNI of its customers to facilitate fraud and theft. It also knew from
                                                                 10    prior incidents of SIM swap fraud that its employees cooperated with hackers and
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                                                                 11    thieves defrauding AT&T’s own customers.
                                                                 12                       195. By being entrusted by Mr. Terpin to safeguard his Personal
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                                                                 13    Information, including CPI and CPNI, AT&T had a special relationship with Mr.
                                                                 14    Terpin. Mr. Terpin signed up for AT&T’s wireless services and agreed to provide
                                                                 15    his Personal Information to AT&T with the understanding that AT&T’s employees
                                                                 16    would take appropriate measures to protect it. AT&T also made promises in the
                                                                 17    COBC that its employees would adhere to AT&T’s ethical and legal obligations,
                                                                 18    including respecting its customers’ privacy. AT&T was further required by the
                                                                 19    Consent Decree to correct the practices that had led to hiring employees who had
                                                                 20    cooperated with hackers and thieves and stolen customers’ personal information.
                                                                 21                       196. AT&T breached its duty to hire employees who would
                                                                 22    safeguard and protect Mr. Terpin’s Personal Information, including CPI and CPNI.
                                                                 23    Mr. Terpin alleges on information and belief, that the employees who facilitated the
                                                                 24    SIM swap fraud perpetrated on Mr. Terpin did not live up to AT&T’s purported
                                                                 25    ethical standards, as expressed in the COBC, or to their legal obligations to Mr.
                                                                 26    Terpin. Mr. Terpin further alleges on information and belief, that the employee at
                                                                 27    the AT&T store who ported Mr. Terpin’s telephone number to the hackers on
                                                                 28
                                                                      83764-00002/3747555.3                          65
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 66 of 72 Page ID #:848



                                                                  1    January 7, 2018, had a criminal record and colluded with the hackers in perpetrating
                                                                  2    the fraud on Mr. Terpin.
                                                                  3                       197. AT&T knew that its hiring of employees was inadequate
                                                                  4    through the FCC investigation that led to the Consent Decree that revealed that
                                                                  5    employees had actively handed over the Personal Information of its customers to
                                                                  6    hackers and thieves. AT&T is morally culpable, given the prior conduct of its
                                                                  7    employees.
                                                                  8                       198. AT&T breached its duty to properly hire competent, honest and
                                                                  9    ethical employees to protect Mr. Terpin’s Personal Information, including CPI and
                                                                 10    CPNI.
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                                                                 11                       199. AT&T’s failure to comply with the Consent Decree is further
                                                                 12    evidence of its failure to investigate employees to ensure that they adhered to
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                                                                 13    AT&T’s ethical and legal responsibilities.
                                                                 14                       200. On information and belief, the employee or agent at the AT&T
                                                                 15    store who gave Mr. Terpin’s SIM card to the imposter on January 7, 2018 was
                                                                 16    Jahmil Smith. Smith has a criminal record which AT&T should have discovered
                                                                 17    before or after hiring him.
                                                                 18                       201. But for AT&T’s wrongful and negligent breach of its duties to
                                                                 19    hire ethical and competent employees, Mr. Terpin’s CPI and CPNI would not have
                                                                 20    been disclosed to unauthorized individuals through SIM swap fraud. The
                                                                 21    connection between AT&T, the SIM swap and the loss of Mr. Terpin’s
                                                                 22    cryptocurrency is alleged herein, inter alia, in Paragraphs 12-13, 60-85, and 95-96.
                                                                 23    AT&T’s negligence was a direct and legal cause of the theft of Mr. Terpin’s
                                                                 24    Personal Information and the legal cause of his resulting damages, including, but
                                                                 25    not limited to, the theft of nearly $24 million worth of cryptocurrency.
                                                                 26                       202. The injury and harm suffered by Mr. Terpin was the reasonably
                                                                 27    foreseeable result of AT&T’s failure to hire competent and ethical employees who
                                                                 28    would safeguard and protect Mr. Terpin’s Personal Information, including his CPI
                                                                      83764-00002/3747555.3                          66
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 67 of 72 Page ID #:849



                                                                  1    and CPNI. Indeed, this failure on the part of AT&T led to the January 7, 2018 SIM
                                                                  2    swap fraud.
                                                                  3                       203. AT&T’s misconduct as alleged herein is malice, fraud and
                                                                  4    oppression under Civil Code § 3294(c)(1) and (2) in that it was despicable conduct
                                                                  5    carried on by AT&T with a willful and conscious disregard of the rights or safety of
                                                                  6    Mr. Terpin and despicable conduct that has subjected Mr. Terpin to cruel and unjust
                                                                  7    hardship in conscious disregard of his rights. As a result, Mr. Terpin is entitled to
                                                                  8    punitive damages against AT&T under Civil Code § 3294(a).
                                                                  9                       204. Mr. Terpin further alleges on information and belief that Bill
                                                                 10    O’Hern, who has been in charge of security at AT&T since 2016, and David S.
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                                                                 11    Huntley, who has been in charge of privacy, had advance knowledge of the
                                                                 12    inadequacies of AT&T’s security, the participation of AT&T employees in evading
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                                                                 13    or bypassing security, and they committed or ratified the acts of oppression, fraud
                                                                 14    or malice alleged herein.
                                                                 15                                  EIGHTH CLAIM FOR RELIEF
                                                                 16                                (Breach of Contract – Privacy Policy)
                                                                 17                       205. Mr. Terpin realleges the allegations in Paragraphs 1 through 204
                                                                 18    as if fully set forth herein.
                                                                 19                       206. The Privacy Policy is a binding contract between AT&T and
                                                                 20    Mr. Terpin.
                                                                 21                       207. AT&T breached the contract with respect to at least the
                                                                 22    following provisions of the Privacy Policy:
                                                                 23                             • AT&T’s promise that it will not sell or disclose users’
                                                                 24                                “Personal Information” to anyone;
                                                                 25                             • AT&T’s commitments that it has “worked hard to protect
                                                                 26                                your information” and has “established electronic and
                                                                 27                                administrative safeguards designed to make the information
                                                                 28                                we collect secure”;
                                                                      83764-00002/3747555.3                           67
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 68 of 72 Page ID #:850



                                                                  1                             • AT&T’s promise that its employees must follow its COBC
                                                                  2                                and that “all employees must follow the laws, rules,
                                                                  3                                regulations, court and/or administrative orders that apply to
                                                                  4                                our business—including, specifically, the legal requirements
                                                                  5                                and company policies surrounding the privacy of
                                                                  6                                communications and the security and privacy of your
                                                                  7                                records”;
                                                                  8                             • AT&T’s promise that it subjects employees who do not meet
                                                                  9                                its security standards to “disciplinary action” and dismissal;
                                                                 10                             • AT&T’s promise that it has “implemented technology and
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                                                                 11                                security features and strict policy guidelines to safeguard the
                                                                 12                                privacy of your Personal Information”;
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                                                                 13                             • AT&Ts promise that it “maintain[s] and protect[s] the
                                                                 14                                security of computer storage and network equipment”;
                                                                 15                             • AT&T commitment that it limits access to Personal
                                                                 16                                Information “to only those with jobs requiring such access”;
                                                                 17                                and
                                                                 18                             • AT&T’s promise that it “[r]equire[s] caller/online
                                                                 19                                authentication before providing Account Information so that
                                                                 20                                only you or someone who knows your Account Information
                                                                 21                                will be able to access or change this information.”
                                                                 22                       208. AT&T also breached its COBC by failing to follow “not only
                                                                 23    the letter of the law, but the spirit of the law” and failing to “protect the privacy of
                                                                 24    our customers’ communications because “not only do our customers demand this,
                                                                 25    but the law requires it.”
                                                                 26                       209. AT&T breached these provisions of its Privacy Policy and
                                                                 27    COBC by not having proper safeguards in accordance with law, including the FCA,
                                                                 28    CPNI Rules, and the Consent Decree, and Cal. Civ. Code §1798.81.5, to protect
                                                                      83764-00002/3747555.3                           68
                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 69 of 72 Page ID #:851



                                                                  1    Mr. Terpin’s “Personal Information,” including CPI and CPNI. AT&T further
                                                                  2    breached its promises by not limiting access to Mr. Terpin’s Personal Information
                                                                  3    to authorized or properly trained individuals. AT&T likewise violated its
                                                                  4    commitments to maintain the confidentiality and security of Mr. Terpin’s Personal
                                                                  5    Information by failing to comply with its own policies and applicable “law, rules,
                                                                  6    regulations, court and/or administrative orders that apply to our business—
                                                                  7    including, specifically, the legal requirements and company policies surrounding
                                                                  8    the privacy of communications and the security and privacy of your records.”
                                                                  9    AT&T thus breached its obligations under the FCA, CPNI Rules, the Consent
                                                                 10    Decree and California law.
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                                                                 11                       210. The January 7, 2018 SIM swap fraud was a direct and legal
                                                                 12    cause of the injuries and damages suffered by Mr. Terpin, including loss of nearly
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                                                                 13    $24 million of crypto currency.
                                                                 14                       211. To the extent that AT&T maintains that the Exculpatory
                                                                 15    Provision, Damages Restriction, and the Indemnity in the Agreement apply to the
                                                                 16    promises made by AT&T in the Privacy Policy and the COBC, such provisions, as
                                                                 17    well as the Agreement in its entirety, are unenforceable and do not apply to the
                                                                 18    Privacy Policy and COBC. See Cal. Civ. Code §§1670.5, 1668 (contracts are
                                                                 19    unenforceable if unconscionable or void against public policy); Ingle v. Circuit City
                                                                 20    Stores, Inc., 328 F.3d 1165, 1180 (9th Cir. 2003) (contracts void if central purpose is
                                                                 21    tainted with illegality). Moreover, such provisions are unconscionable under
                                                                 22    California law because an entity cannot exculpate itself from its obligations to
                                                                 23    maintain the privacy and security of personal information under federal and
                                                                 24    California law, as further set forth herein in Paragraphs 70 to 82. See Health Net of
                                                                 25    California, Inc. v. Department of Health Services, 113 Cal. App. 4th 224, 244
                                                                 26    (2004) (California courts for 85 years have invalidated “contract clauses that relieve
                                                                 27    a party from responsibility for future statutory and regulatory violations”)
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 70 of 72 Page ID #:852



                                                                  1                       Mr. Terpin was harmed due to AT&T’s breach of the terms of the
                                                                  2                       Privacy Policy and COBC, because his “Personal Information,”
                                                                  3                       including CPI and CPNI, was breached in the January 7, 2018 SIM
                                                                  4                       swap fraud, which led to monetary losses of nearly $24 million. The
                                                                  5                       connection between AT&T, the SIM swap and the loss of Mr. Terpin’s
                                                                  6                       cryptocurrency is alleged herein, inter alia, in Paragraphs 12-13, 60-85
                                                                  7                       and 95-96.
                                                                  8                                       PRAYER FOR RELIEF

                                                                  9                       Wherefore, Plaintiff Michael Terpin demands judgment against
                                                                 10    Defendants as follows:
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                                                                 11                  1. For general damages against Defendants, and each of them, jointly and
                                                                 12
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                                                                       severally, in an amount to be determined at trial, but in no event less than
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                                                                 13    $24,000,000, less credits for any amounts recovered by Plaintiff from others;
                                                                 14                  2. For exemplary and punitive damages against Defendants, and each of
                                                                 15    them, in an amount to be determined at trial, but in no event greater than nine times
                                                                 16    the amount of general and special damages awarded to Plaintiff ($216 million);
                                                                 17                  3. For preliminary and permanent injunctive relief against Cross-
                                                                 18    Defendants, and each of them, enjoining and restraining them from continue to
                                                                 19    engage in unfair competition, unfair practices, violation of privacy, and other
                                                                 20    actions;
                                                                 21                  4. For a declaration that the Agreement in its entirety is unenforceable as
                                                                 22    unconscionable and against public policy or, in the alternative, that (a) the
                                                                 23    Exculpatory Provision is unenforceable as against Plaintiff; (b) the Damages
                                                                 24    Resolution is unenforceable against Plaintiff; and (c) the Indemnity is
                                                                 25    unenforceable against Mr. Terpin;
                                                                 26                  5. For attorney’s fees under the FCA and any other applicable statutory
                                                                 27    provision;
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 71 of 72 Page ID #:853



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                                                                  2                  6. For interest and costs of suit and such other and further relief as the
                                                                  3    Court deems just and proper.
                                                                  4    DATED: March 16, 2020                      GREENBERG GLUSKER FIELDS
                                                                                                                  CLAMAN & MACHTINGER LLP
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                                                                                                                  By:/s/Pierce O’Donnell
                                                                  9                                                  PIERCE O’DONNELL (SBN 081298)
                                                                                                                     Attorneys for Plaintiff Michael Terpin
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                                                      Case 2:18-cv-06975-ODW-KS Document 42 Filed 03/16/20 Page 72 of 72 Page ID #:854



                                                                  1                                  DEMAND FOR JURY TRIAL
                                                                  2              Plaintiff hereby requests a trial by jury.
                                                                  3
                                                                       DATED: March 16, 2020                      GREENBERG GLUSKER FIELDS
                                                                  4                                               CLAMAN & MACHTINGER LLP
                                                                  5
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                                                                  7                                               By:/s/ Pierce O’Donnell
                                                                                                                     PIERCE O’DONNELL (SBN 081298)
                                                                  8                                                  Attorneys for Plaintiff Michael Terpin
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